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                                    Exhibit A

           Little River v. Blue Cross and Blue Shield of Texas
                     AAA Case No. 01-18-0001-0136
                               Final Award
                               May 6, 2020
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                       AMERICAN ARBITRATION ASSOCIATION
                           Commercial Arbitration Tribunal

____________________________________________________________________________________

Case No: 01-18-0001-0136

In the Matter of the Arbitration between:

ROCKDALE BLACKHAWK, LLC d/b/a
LITTLE RIVER HEALTHCARE,

                      Claimant,

v.

BLUE CROSS AND BLUE SHIELD OF TEXAS,

                      Respondent.


                                       FINAL AWARD



       I, THE UNDERSIGNED ARBITRATOR, having been designated in accordance with the

arbitration agreements between the Claimant and Counter-Respondent Rockdale Blackhawk,

LLC d/b/a Little River Healthcare (“Little River”), and the Respondent and Counter-Claimant

Blue Cross and Blue Shield of Texas (“BCBSTX”) (collectively “the parties”), having been duly

sworn, and having heard the proofs and allegations of the parties, do hereby issue this FINAL

AWARD, as follows:

       This arbitration is conducted under the Commercial Arbitration Rules of the American

Arbitration Association (AAA), effective October 1, 2013. By agreement of the parties, the

hearing was held in Austin, Texas, between August 5-10, 2019 and August 12-16, 2019. Little

River appeared by its corporate representative Ryan Downton, and by counsel Brad Thompson,

Jacob P. Arechiga, Meredith Mills Gregston and Lauren A. Appel, Duane Morris LLP. Also in


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attendance was the Little River Chapter 7 Bankruptcy Trustee, Mr. James Studensky. BCBSTX

appeared by its corporate representative Bill Monroe, in-house counsel Matthew Barnes, and by

counsel Martin J. Bishop, Bryan Webster, Will Sheridan, Peter Chassman, and Courtney B.

Averbach, Reed Smith LLP. Megan Stonestreet and Pete Jackson also appeared on behalf of

BCBSTX.

         Witness testimony and documentary evidence were offered and admitted, and it was

agreed that the stenographic recording would constitute the official record of the proceedings.

At the conclusion of the hearing, the parties agreed that they would present an agreed set of

official exhibits, together with additional evidence via email submission in the form of

deposition designations and counter-designations, which the Tribunal timely received.                             The

parties also agreed on a schedule for the submission of post-hearing briefs which, together with a

stenographic recording of the proceedings, the Tribunal timely received on October 1, 2019.1 At

the conclusion of the hearing, the record was not closed and remained open pending issuance of

an interim award and the submission of evidence relating to attorneys’ fees and costs, pursuant to

Panel Order No. 1, paragraph 8.

         The Interim Award issued on January 21, 2020. Pursuant to the parties’ agreement and

Panel Order No. 1, the parties were afforded time to attempt to reach a stipulation on the issues

of attorneys’ fees and costs, calculations of interest, and to whom prompt-payment penalties

would be paid. In the event a stipulation could not be reached, a briefing schedule was set under

which the record would close on May 11, 2020 and a Final Award would issue on or before June




1 The parties submitted hyperlinked post-hearing briefs electronically, and a stenographic transcript of the
proceedings was submitted electronically as well. Due to technical electronic transmission problems, which the
parties’ counsel were diligent in helping to resolve, the briefs and transcript became fully accessible to the Tribunal
on October 1, 2019.




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10, 2020. The parties were unable to reach a stipulation, and submitted evidence and briefing on

the remaining issues in an expedited manner. The hearing was declared closed on May 6, 2020.

                                        I. Final Award

       NOW, THEREFORE, having carefully considered the evidence, briefing, and legal

authorities presented, together with the arguments of the parties’ outstanding counsel, the

Tribunal ORDERS, AWARDS, ADJUDGES and DECREES as follows:

       1.      BCBSTX breached the contracts in issue by failing to pay for laboratory services

provided to BCBSTX members, improperly recouping funds previously paid to Little River for

provided services, and failing to timely and appropriately adjudicate the laboratory claims

submitted by Little River, for which it is liable to Little River for damages in the amount of

$65,103,000.00. Little River is entitled to recover pre-judgment interest on this amount at the

statutory rate of 5% for a total up to the scheduled June 10, 2020 final award date in the amount

of $14,866,685.00, which amount shall be adjusted down to factor in the May 6, 2020 date of

this Final Award. Little River is entitled to recover post-judgment interest from and after May 6,

2020 at the rate of 5%.

       2.      BCBSTX’s adjudication of Little River’s claims violated the Texas Prompt

Payment Laws, for which it is liable for penalties in the principal amount of $18,900,000.00 up

until the hearing’s commencement on August 5, 2019, together with statutory interest thereafter

at $9,320.55 per day through the scheduled June 10, 2020 final award date in the amount of

$2,889,370.00, for a total of $21,789,370. Little River is entitled to recover fifty percent (50%)

of such amounts, and the Texas Department of Insurance is entitled to recover the remaining fifty

percent (50%). Accordingly, Little River shall have and recover from BCBSTX the principal

amount of $9,450,000.00 in penalties, together with $1,444,685.00 in interest through the




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scheduled June 10, 2020 final award date, for a total award of $10,894,685.00 (which amount

shall be adjusted down to factor in the May 6, 2020 date of this Final Award), with interest to

accrue thereafter in the amount of $4,660.27 per day until paid. The Texas Department of

Insurance is entitled to recover a like amount. The above amounts shall be adjusted down to

factor in the May 6, 2020 date of this Final Award.

       3.      Having prevailed on the foregoing claims, Little River is entitled to attorneys’

fees and costs reasonably incurred in presenting them. Little River shall have and recover from

BCBSTX its reasonable and necessary attorneys’ fees in the amount of $5,092,308.35, allocated

as follows:

               a.     Duane Morris LLP                     $2,937,432.55

               b.     Law Offices of Ryan Downton          $2,154,875.80

               c.     Law Office of James Studensky        $0

Little River shall also have and recover prejudgment interest on paid attorneys’ fees in the

amount of $238,057.00, and costs in the amount of $1,105,925.00.

       4.      BCBSTX shall take nothing on its counterclaims and is entitled to no damage

award in its favor.

       5.      The administrative filing and case service fees of the American Arbitration

Association totaling $45,200.00, and the compensation and expenses of the Arbitrator totaling

$232,177.50, shall be borne by BCBSTX.           See AAA R-47(c).    Therefore, BCBSTX shall

reimburse Little River the sum of $146,588.75.

       This award disposes of the claims and counterclaims between the parties in this

proceeding. Any claim that is not directly addressed in this Award is hereby denied.




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       The parties have requested the Tribunal to provide the reasons for this ruling, which are

as follows.

                                      II.     Background

                                  A. Procedural Background

       6.      Little River was a rural healthcare provider that operated two hospitals in Milam

County, Texas, including the Rockdale Hospital located in Rockdale, Texas, about 40 miles

northeast of Austin.     BCBSTX is an unincorporated division of Health Care Services

Corporation (“HCSC”), an Illinois Mutual Legal Reserve Company and an independent licensee

of the Blue Cross Blue Shield Association, operating in Texas as Blue Cross Blue Shield of

Texas. BCBSTX provides a number of types of health insurance policies and health-benefit-

administration services for group customers, including employers and governmental entities.

       7.      The multiple contracts at issue in this proceeding between Little River and

BCBSTX contain dispute resolution provisions requiring that disputes arising thereunder be

submitted to final and binding arbitration administered by the AAA. Little River formally

initiated the pre-dispute resolution provisions of the contracts beginning on April 13, 2017.

When all relevant pre-dispute resolution requirements were exhausted, this arbitration was filed

on March 5, 2018. The dispute is validly before the AAA, and the parties have no objections to

the arbitrability of the claims asserted. The contracts, and the substantive resolution of the

disputes between the parties, are governed by the laws of the State of Texas.

       8.      On September 17, 2018, Little River submitted its Confidential First Amended

Demand for Arbitration to the Tribunal, which amended prior demands submitted on May 2,

2018, and March 5, 2018. Trial Ex. 1. Little River’s Demand included thirteen distinct counts

against BCBSTX: I. Breach of Contract – Failure to Pay for Services provided to BCBSTX




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Members; II. Breach of Contract – Improper Recoupment; III. Breach of Contract – Failure to

Produce Documentation; IV. Breach of the Covenant of Good Faith and Fair Dealing; V.

Violation of the Texas Prompt Pay Statute; VI. Unfair Claim Settlement Practices; VII.

Violations of the Texas Free Enterprise and Antitrust Act; VIII. Deceptive Insurance Practices;

IX. Deceptive Trade Practices; X. Fraudulent Inducement; XI. Money Had and Received (in the

alternative); XII. Exemplary Damages; and XIII. Declaratory Judgment. BCBSTX responded

with a general denial.          Little River subsequently voluntarily withdrew Count IX alleging

Deceptive Trade Practices.

          9.      On June 29, 2018, BCBTX submitted its Counterclaim to Little River’s Demand,

alleging four counts: I. Breach of Contract; II. Fraud; III. Fraudulent Inducement; and IV.

Money Had and Received (in the alternative). Trial Ex. 2. Little River responded with a general

denial.


          10.     Thereafter, each party submitted two dispositive motions, responses to the others’

motions, and replies to the respective responses—with extensive supporting exhibits. On June

19, 2019, the Tribunal denied the motions but carried them with the case subject to

reconsideration of the issues presented at the arbitration hearing. Trial Ex. 12. The final hearing

was conducted over ten days in Austin, Texas. Before the hearing commenced, and after

resolving any objections asserted, the exhibits identified in the parties’ Joint Exhibit List for

Arbitration were admitted into evidence. The parties also entered into evidence the testimony of

multiple fact and expert witnesses, all of whom were made available for cross-examination.2



2 The testimony of William Monroe, BCBSTX’s executive in charge of investigations, was received at the
arbitration hearing as a bill of exception pending a ruling on Little River’s objection to his appearance as a witness.
Trial Tr. (Day 6) at 283:22-24. The Tribunal hereby overrules Little River’s objection to Mr. Monroe’s appearance,
has considered the bill of exception as evidence in this proceeding, and in the issuance of this Interim Award has
afforded such testimony the appropriate weight it is due.



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                                                  B. Factual Background

           11.       Prior to its bankruptcy,3 Little River operated the only hospital in Milam County

certified as a Critical Access Hospital (“CAH”) by the Centers for Medicare and Medicaid

Services (“CMS”)—the Rockdale Hospital. In addition, it operated other rural hospitals, surgery

centers, medical clinics and diagnostic imaging centers, and had an expansive physician network.

Little River had also purchased additional land in Georgetown, Texas, on which it intended to

construct a surgery center.

           12.       To participate in BCBSTX’s network, a provider must disclose the types of

services it will be providing to BCBSTX members. The contracts that BCBSTX offers in return

are tailored to those services and contain reimbursement and payment rates based on the volume

and mix of services the provider represents it will be providing. Different types of providers are

covered by different types of contracts. Generally, hospitals contract under hospital contracts,

reference laboratories under laboratory contracts, and physicians under professional contracts.

           13.       The Old Contracts. Little River and BCBSTX entered into a number of contracts

with regard to the provision of healthcare services to BCBSTX members. For purposes of the

claims at issue in this proceeding, the contractual relationship between Little River and BCBSTX

began in 2003 and 2004, with the signing of what the Parties refer to as the “Old Contracts”:

                 •   Hospital Contract for PPO/POS Business, effective on December 15, 2003
                     (“Old PPO Contract”), under which Little River was to be reimbursed at
                          of eligible billed charges;

                 •   Hospital Contract for Traditional Indemnity Business, effective on
                     December 15, 2003 (“Old Indemnity Contract”), under which Little River
                     was to be reimbursed at    of eligible billed charges; and




3   Little River filed for Chapter 11 bankruptcy on July 24, 2018.



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                •   Hospital Agreement for HMO Network Participation, effective on
                    September 15, 2004, under which Little River was to be reimbursed at
                         of eligible billed charges (“Old HMO Contract”).

Trial Exs. 57-59. The contracts established Rockdale Hospital as an “in network” provider for

BCBSTX members insured under the various plans.

          14.       The Old Contracts were “percentage of charge” (“POC”) contracts, meaning

Little River was to be reimbursed based on an agreed percentage of the eligible charge for the

service rather than on a fixed-fee schedule. The charge upon which the percentage is based is

reflected in the hospital’s “charge master,” which determines what to charge for a particular

service based on a variety of factors. As typically low-volume providers, rural hospitals are

often contracted under the POC favorable rate structure because such contracts are easy to

administer. Trial Tr. (Day 5) at 295:10-13; 296:8-297:25 (Cripe). In effect, POC contracts

subsidize rural healthcare and account for the significant hospital overhead costs associated with

such care. This favorable rate structure is generally not available to higher-volume hospitals or

independent reference labs, with whom BCBSTX generally contracts on a lower fixed-fee

schedule. The vast majority (approximately 98%) of the claims at issue in this proceeding fall

under the Old PPO Contract and its             of eligible billed charges reimbursement rates. Trial

Ex. 57.

          15.       Like most rural healthcare providers, Rockdale Hospital struggled with difficult

market conditions. To offset the high costs of running a rural hospital, Little River embarked on

an aggressive growth strategy between 2013 and 2016. It expanded its provider network by

adding surgery centers, diagnostic imaging centers, and over 50 physician practice locations.

The expansion not only improved the hospital’s financial situation, it also allowed the provision

of services to patients that otherwise would not have been available in its rural hospital, such as




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cardiology and orthopedics. Trial Tr. (Day 1) at 189-90 (Dr. Sheinberg). Little River planned to

subsidize much of its growth through the development and expansion of an outreach testing

laboratory.

         16.      Hospitals often utilize third-party laboratories, known as “reference labs,” to

perform laboratory tests that the hospital itself is unable or unequipped to perform. The hospitals

pay the laboratory for those services and bill the patient or the patient’s insurance company. In

2006, when Little River took over the hospital’s operations,4 the hospital was utilizing reference

labs for its relatively small volume of patients, and insurers, including BCBSTX, were paying for

those services.

         17.      In 2014, Little River created a way for physicians, who were ordering testing

from out-of-network laboratories and facing resistance from commercial payors, to provide those

services in-network through Little River’s hospital contract. It began reaching out to physician

offices and offering various types of testing, including advanced lipids and toxicology, as an in-

network provider. Little River contracted with multiple independent providers and laboratories,

including Boston Heart Diagnostics Corp., Pathway Genomics Corporation, True Health

Diagnostics, Essential Testing, LLC, and Global Sleep Austin, LLP. Little River placed its

employees in physicians’ offices to collect the laboratory specimens. The collector would

register each patient as an outpatient of the hospital, have the patient sign a consent form

acknowledging that status and assigning benefits over to Little River, prepare the patient for

collection, collect the specimen, prepare it for processing, and mark the chain of custody to the

laboratory. Trial Tr. (Day 2) at 23-24 (Cook). Another Little River employee would receive the



   4   The hospital’s operations were taken over by Rockdale Blackhawk, LLC, now Little River.




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specimen and accession the patient in Little River’s hospital electronic medical record. The

testing would then be performed at the hospital’s laboratory facility or referred out to a reference

lab. The test results would then be provided to a Little River employee, who would enter the

results into the hospital’s records and communicate them back to the ordering provider, who

would in turn convey them to the patient.

       18.     Through referrals from Little River-employed physicians and other doctors who

wanted to order such testing, Little River’s laboratory volume grew dramatically. As volume

grew, Little River began to invest in its own hospital laboratory so that it could provide much of

the testing it had been sending out to reference labs. Through 2016, it proceeded to build out and

run a laboratory at the hospital that could perform more testing on campus, including much of

the advanced lipids testing, though some of the more complex components continued to be sent

out to reference labs. Little River built a wing onto its hospital located in Rockdale so that it

could provide additional on-site laboratory testing, and it purchased the assets of a toxicology

laboratory, Essential Testing, in 2016 so that it could expand its toxicology testing capabilities.

By the summer of 2016, Little River was able to perform the majority of its testing with its

expanded on-site laboratory.

       19.      Pre-Payment Review.         In 2015, BCBSTX received a number of member

complaints concerning Little River’s billing practices, some saying they had never been to the

hospital to receive the services billed and others stating that they had been to the hospital but did

not receive the billed services. BCBSTX began an investigation with its Special Investigations

Department (“SID”) focused on laboratory services, which demonstrated the significant volume

increase in Little River’s laboratory claims. Based on preliminary findings, BCBSTX notified

Little River by letter dated May 31, 2016 (effective June 7, 2016), that it was placing Little River




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on pre-payment review on a detailed list of 122 “CPT” (Current Procedural Technology) codes,

which are developed by the American Medical Association to describe the services and

procedures performed. Under pre-payment review, BCBSTX will not pay a claim until it

reviews the underlying medical records from the provider in support. BCBSTX investigated the

specific patient complaints regarding Little River’s laboratory services, determined that Little

River’s claims were valid, and paid the claims.

        20.       The New Contracts. Shortly after placing Little River on pre-payment review,

BCBSTX terminated the Old Contracts “without cause,” as the contracts allowed it to do. 5

Thereafter, the parties negotiated for new reimbursement rates. Effective on or about November

15, 2016, the Old Contracts were replaced with what the parties collectively refer to as the “New

Contracts,” which are as follows:

              •   Hospital Agreement for Blue Advantage HMO Network Participation;
                  Amendment Number 1 to Hospital Agreement for HMO Network
                  Participation (“New HMO Contract”).

              •   Amendment Number 2 to Hospital Agreement for Traditional Indemnity
                  Business (“New Indemnity Contract”);

              •   Amendment Number 2 to Hospital Agreement for PPO/POS Business
                  (“New PPO Contract”).

The New Contracts eliminated the POC pricing structure and implemented a substantially

reduced fixed-fee schedule for diagnostic services. The Old Contracts and the New Contracts

will collectively be referred to herein as “the Contracts.”

        21.       Payment issues and attempts to resolve them continued, and on April 13, 2017,

Little River invoked the contractual dispute resolution provisions. BCBSTX completed its audit

of Little River’s claims and removed Little River from pre-payment review on May 25, 2017


5Under both the Old and New Contracts, either party could terminate the contract at any time without cause upon
90-days written notice.



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(effective May 16, 2017). Even so, BCBSTX continued to request medical records from Little

River and payment problems continued, culminating in this proceeding. Faced with severe cash

flow problems, Little River filed for Chapter 11 Bankruptcy on July 24, 2018, which was then

converted to a Chapter 7 bankruptcy proceeding on December 7, 2018. See In re: Little River

Healthcare Holdings, LLC, et al., Case No. 18-60526-rbk (Bankr. W.D. Tex. 2018).

                                        C. The Present Dispute

       22.     Little River claims that BCBSTX owes it millions of dollars in damages and

penalties related to denial or underpayment for laboratory services that were rendered to

BCBSTX members.         Little River further contends BCBSTX’s improper nonpayment and

unilateral recoupment of payments already made damaged Little River’s cash flow such that it

was forced into bankruptcy and, ultimately, liquidation. BCBSTX, on the other hand, contends

Little River wrongfully obtained payment for laboratory services it did not provide and for

services that were provided to BCBSTX members who were not Little River patients, for which

it seeks to recover millions of dollars in damages. The parties’ respective claims are as follows.

                                        1. Little River’s Claims

       23.     Breach of Contract. (Counts I, II, III & IV). Little River claims it is entitled to

payment for laboratory services provided to its BCBSTX-insured patients because the Contracts

provided coverage for the provided services and it complied with all contractual requirements for

payment. According to Little River, BCBSTX breached the Contracts by failing to pay for the

laboratory services that Little River provided (Count I), improperly recouping money that was

paid to Little River (Count II), failing to respond in writing to Little River’s requests for

information (Count III) and violating implied contractual covenants of good faith and fair

dealing (Count IV).




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          24.   Little River claims that it met all contractual notice requirements. According to

Little River, its laboratory services grew as its practice locations and physician network grew,

and every year Little River provided BCBSTX with written notice of both physicians’ offices

and facilities locations operating under its corporate umbrella and Tax ID number. Many of

these affiliated offices and facilities were located away from the hospital campus, and BCBSTX

routinely paid for laboratory services provided to these off-campus patients. Over time, Little

River began to extend its provision of laboratory services from its owned and affiliated locations

to non-affiliated physicians’ offices by providing hospital-employed phlebotomists in such

locations to collect patient specimens. According to Little River, it was not required to notify

BCBSTX of where its phlebotomists traveled to collect specimens because adding laboratory-

draw locations is neither a change in the CAH “specialty” Little River provided nor a change in

the “location” of the hospital, which are contractual trigger points for notification. But even if

this could be considered a change in “specialty provided” or “location,” Little River claims, the

addition of phlebotomist locations is not the type of change that would have a direct impact on

the parties’ ability to discharge their respective obligations under the contracts, which must be

the case for notice to be required. In any event, Little River argues, BCBSTX had actual notice

of these locations through its review of medical records conducted before it paid Little River’s

claims.

          25.   Little River contends it rendered services to BCBSTX-insured hospital outpatients

covered by the Contracts.        According to Little River, by placing hospital-employed

phlebotomists in physicians’ offices to register patients as Little River hospital outpatients and

physically drawing and processing the patients’ specimens, the patients became covered

“outpatients” of the hospital under the Contracts’ express terms. According to Little River, by




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defining “outpatients” as members receiving covered services “not as an Inpatient,” the

Contracts intended the term to be broad and encompass “non-patients.” Little River contends

BCBSTX’s actions demonstrate it intended the Contracts to cover “non-patient” services as well.

       26.     As for the use of reference labs, Little River argues nothing in the Contracts or

BCBSTX Policy Manuals limit or prohibit how laboratory services will be provided to hospital

patients. Hospitals routinely utilize reference labs when a provider orders a type of testing that

the hospital laboratory cannot perform, Little River claims, and insurance companies typically

pay for such services. Little River contends the pass-through-billing prohibitions contained in

the BCBSTX Policy Manual applied on their face only to physicians, not hospitals, and that

subsequent revisions could not retroactively alter BCBSTX’s prior payment obligations under

the Old Contracts. But even under the revised policy, Little River claims, it fit the described

exceptions because the services Little River rendered were “provided by an employee” of the

billing provider who provided a direct patient service by collecting the blood specimens, and/or

because BCBSTX “otherwise approve[d]” reference-lab billing by knowingly paying for Little

River’s utilization of those services for over a decade. Finally, Little River argues that any

ambiguity in the pass-through-billing prohibition must be construed in its favor because, as the

assignee of its patients’ claims, it steps into the insureds’ shoes and coverage ambiguities must

be resolved in favor of the insured.

       27.     Even if it does not prevail on the above issues, Little River argues that BCBSTX

is nonetheless estopped from denying payment for Little River’s claims because BCBSTX

consistently paid Little River’s laboratory claims after actually reviewing thousands of records

that revealed the off-campus locations where the specimens were drawn and the use of reference

labs, and after investigating specific patient complaints that revealed the same. Moreover, Little




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River contends, the New Contracts expressly allowed such billings and provided a much lower

reimbursement rate in exchange. According to Little River, BCBSTX’s consistent payment of

laboratory claims with full knowledge of the material circumstances constitutes ratification of

Little River’s reference lab use as a covered service. Little River further claims the myriad

alleged billing errors that BCBSTX identified for the first time when expert reports were

exchanged in this arbitration may not be raised this late in the process.         After reviewing

thousands of medical records and paying those claims, Little River argues, BCBSTX is estopped

from alleging new imperfections today that could have easily been corrected had they been

timely raised.    According to Little River, it detrimentally relied on BCBSTX’s actions by

continuing to provide laboratory services to its insureds, the nonpayment for which would be

unconscionable.

       28.       Improper Recoupment (Count II). Little River claims BCBSTX’s recoupment of

some $9.1 million in funds that had been paid to Little River violated Texas law. Specifically,

Little River contends BCBSTX failed to provide statutorily required written notice of the reasons

for the recoupment, together with an explanation of Little River’s appeal rights, before its actual

recoupment, as Texas law requires. Without the required legal notice, Little River argues that

BCBSTX must repay the improperly recouped funds.

       29.       Failure to Timely Adjudicate (Count III).       Even if Little River was not

contractually allowed to offer reference lab services to BCBSTX insureds, Little River contends,

BCBSTX had a contractual duty to timely inform Little River that it was denying payment on

that basis. Had it done so, BCBSTX would still have been obligated to pay Little River out-of-

network rates, which would have afforded Little River the opportunity to collect any remaining

balances from the insured members, all of whom signed financial-responsibility statements




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before receiving Little River’s services. Because Little River was deprived of the opportunity to

resubmit the claims to BCBSTX as out-of-network claims and to collect any deficiencies from

the insureds, Little River contends it incurred damages of 100% of its billed charges.

       30.     Violation of the Covenant of Good Faith and Fair Dealing (Count IV). Little

River further alleges that BCBSTX’s unequal control over the claims process created a “special

relationship” between the parties that supports an independent cause of action for breach of the

duty of good faith and fair dealing, which BCBSTX breached by failing to adjudicate claims in a

timely and accurate manner. Little River contends the breach of this duty was an independent

proximate cause of Little River’s bankruptcy and subsequent liquidation, for which it seeks to

recover its lost enterprise value in the amount of $371.3 million.

       31.     Violation of Prompt Payment Laws (Count V). Little River alleges BCBSTX

violated the Texas Prompt Payment Laws in a number of ways, including the failure to pay, deny

with written notice, or partially pay and partially deny, electronic clean claims within 30 days of

receipt, the failure to timely process claims after receipt of medical records, and by placing an

internal hold on processing claims without sending a written request for the remaining records.

In addition, Little River alleges BCBSTX violated the process for conducting audits and

recouping overpayments by failing to pay first and investigate later as the law requires.

According to Little River, BCBSTX is liable for prompt-payment violations on both fully-

insured and self-insured claims in the amount of $27 million.

       32.     Insurance Code Violations (Count VI); Deceptive Insurance Practices (Count

VIII). Little River claims standing as an assignee of BCBSTX’s insureds to assert claims under

Chapters 541 and 542 of the Texas Insurance Code. According to Little River, BCBSTX

violated Section 541.060(a)(2)(A) by impermissibly pending and then denying more than 5,000




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claims in 2017 when Little River was only billing for services performed on its own equipment,

violated Section 541.060(a)(4)(A) by failing to act within a reasonable time to affirm or deny

coverage of Little River’s claims, violated Section 541.060(a)(7) by refusing to pay claims

without conducting a reasonable investigation, and committed various violations of Sections

542.003(b)(2)-(4).

       33.     Violation of the Texas Free Enterprise and Antitrust Act (Count VII). Little River

contends BCBSTX conspired with other third-party payors to impose coordinated restrictions on

hospitals’ use of reference labs. According to Little River, BCBSTX worked with such payors to

eliminate competition and reduce the supply and availability of third-party laboratories in central

Texas, committing a per se price-fixing violation of Texas Business & Commerce Code section

15.05(a).    Little River also alleged BCBSTX violated section 15.05(b) by attempting to

monopolize laboratory business in rural Texas and shut down competing laboratories and force

providers, like Little River, to use laboratories with BCBSTX contracts that contain lower

reimbursement rates. Such actions, Little River claims, were an independent proximate cause of

its bankruptcy and liquidation, for which it is entitled to recover lost enterprise value. Because it

alleges BCBSTX’s actions were willful and flagrant, Little River seeks treble damages and

attorneys fees under section 15.21(a)(1).

       34.     Deceptive Trade Practices (Count IX): During the dispositive motion phase of

this arbitration, Little River voluntarily withdrew its Count IX Deceptive Trade Practices claim.

Accordingly, the Tribunal makes no finding on this count.

       35.     Fraudulent Inducement (Count X).          Little River claims BCBSTX had full

knowledge of Little River’s laboratory billing practices and contract interpretation positions

when it renegotiated the New Contracts at substantially reduced reimbursement rates, and chose




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to re-contract under a hospital contract rather than insist on its newly-asserted position that an

“ancillary services” contract for laboratory services was necessary. According to Little River,

BCBSTX knew when it renegotiated the Old Contracts that Little River’s cost-to-charge ratio

was        , and BCBSTX modeled and represented that a         ratio would apply to the New PPO

Contract.    Instead, a          contract was actually created which Little River claims was

intended     to “dis-incentivize” Little River from performing outreach laboratory operations by

presenting a contract that would produce at best break-even returns. Little River claims that

BCBSTX’s subsequent expansion of its pre-payment review audit on laboratory claims without

notifying Little River, its failure to follow audit procedures under Texas law to first pay then

investigate, its refusal to pay after verifying that the testing was being performed on campus, its

improper pending and mass denial of claims, and its improper accusations of fraudulent billing

practices to CMS all indicate that BCBSTX never intended to pay for laboratory services under

the renegotiated contracts unless the lab volume decreased to an arbitrary level that BCBSTX

would accept. By entering into the fraudulently induced New Contracts, Little River alleges it

suffered the loss of rates equal to 100% of billed charges as an out-of-network provider. Little

River seeks recovery of $80.4 million under this count, together with $371.3 million in lost

enterprise value.

       36.      Money Had and Received (Count XI—in the alternative). Though believing its

claims are covered by the Contracts, Little River contends that, to the extent they are not, it is

equitably entitled to its full measure of damages under the common law doctrine of “money had

and received” because it actually provided millions of dollars of testing to BCBSTX insureds for

which it has never been paid, resulting in an unfair windfall to BCBSTX.




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       37.     Exemplary Damages (Count XII). Little River seeks an additional award of

exemplary damages for what it contends are BCBSTX’s actions constituting bad faith and

malice, in an amount not to exceed two times economic damages.

       38.     Declaratory Judgment (Count XIII). Finally, Little River seeks a declaratory

judgment in its favor as to each of the foregoing claims, together with an award of attorneys’ fees

under the Texas Declaratory Judgment Act. TEX. CIV. PRAC. & REM. CODE § 37.009.

                              2. BCBSTX Response and Counterclaims

       39.     BCBSTX Response. BCBSTX contends Little River failed to meet its burden to

prove that the 28,000+ claims for which it seeks to recover are in fact payable. Without proof

that the claims were for covered services under a member’s benefit plan, medically necessary,

and supported by substantiating documentation, BCBSTX argues Little River failed to establish

its entitlement to payment.     According to BCBSTX, the example claims that Little River

introduced at the hearing were not shown to be statistically significant or representative of the

total claims in dispute.

       40.     BCBSTX further claims it established through the testimony of its expert, Kara

McVey, that none of Little River’s claims were payable due to improper coding, inadequate

documentation, failure to meet BCBSTX’s medical policies and other various defects.

According to BCBSTX, it affirmatively established that Little River wrongfully billed for

services it did not perform and for services that were provided to non-patients of the hospital in

violation of the policy terms. BCBSTX alleges Little River exploited loopholes in the Medicare

system to bill as a laboratory under private hospital contracts for services that it did not render.

Such alleged wrongful actions are asserted as a matter of avoidance and also form the basis of

BCBSTX’s counterclaims for affirmative relief, as follows.




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       41.     Breach of Contract (Count I).       BCBSTX contends Little River breached the

Contracts in a number of respects: (1) billing for services it did not provide and/or that were not

provided at the Rockdale Hospital or an approved location; (2) billing for services provided to

non-patients of the Rockdale Hospital; (3) failure to provide notice of a material change in

specialty provided or location of services; (4) subcontracting with laboratory providers without

BCBSTX’s consent; and (5) billing for claims that were not covered, insufficiently documented,

improperly coded, and/or failed to meet BCBSTX’s medical policies.              For these reasons,

BCBSTX seeks to recover $69 million in payments it made to Little River that it claims were not

payable under the Contracts.

       42.     Specifically, BCBSTX claims Little River violated the Contracts’ prohibition on

pass-through billing by submitting claims for laboratory services it did not render. According to

BCBSTX, Little River’s use of third-party reference labs also violated the contractual provision

that prohibits Little River from subcontracting or assigning its duty to provide medical services

to BCBSTX members. By contracting with and billing for tests performed by third-party

laboratories, BCBSTX claims, Little River breached the terms of the hospital Contracts and the

BCBSTX policies that the Contracts incorporated.

       43.     BCBSTX also alleges Little River violated the Contracts’ notification requirement

by failing to provide notice of material changes in the specialty that Little River provided and the

massive expansion of the patient population it intended to serve. BCBSTX claims that by

dispatching Little River-employed phlebotomists to physicians’ offices for specimen collection

and expanding its laboratory outreach, Little River transformed what had been a rural hospital

into a large-scale reference lab. According to BCBSTX, this resulted in a change in location and

specialty that required Little River to provide written notice under the Contracts.




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       44.     BCBSTX further claims Little River breached the Contracts’ requirement that it

submit bills only for services that it rendered to Little River patients at its Rockdale Hospital

campus. Instead, BCBSTX claims, the services that Little River provided were to non-patients

not encompassed within the Contracts’ coverage for “outpatients” and “inpatients” of the

Rockdale Hospital.     To qualify as an “outpatient,” BCBSTX argues the patient must be

“admitted to the Hospital” for services that do not require an overnight stay other than for

observation. According to BCBSTX, an outpatient must appear at the hospital and receive

services there; BCBSTX members who appear at physicians’ offices remote from Little River’s

Rockdale Hospital to have specimens drawn for testing by third-party laboratories are not

“outpatients” of the hospital but “non-patients” outside of the Contracts’ purview.

       45.     To the extent any of the above contractual terms are ambiguous—and BCBSTX

asserts they are not—BCBSTX contests Little River’s position that they must be construed in its

favor for three reasons: (1) Little River is not an insured disputing coverage language in an

insurance contract but a sophisticated commercial entity disputing hospital contract terms, (2)

ambiguities must be resolved by contractual context, which supports BCBSTX’s reading, and (3)

to the extent Little River purports to stand in the insureds’ shoes, its claims are preempted by

ERISA.

       46.     Fraud (Count II). BCBSTX alleges that Little River’s laboratory billing scheme

was fraudulent. Specifically, BCBSTX claims Little River made specific representations and

omissions in its claims submissions by coding claims to hide that the testing was not performed

by Little River, and by obscuring who was actually performing the services in the medical

records it submitted during pre-payment review. According to BCBSTX, Little River’s

nondisclosure that it was engaging in improper pass-through billing and developing its massive




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laboratory outreach program constituted a misrepresentation of material fact on which BCBSTX

relied by paying tens of millions of dollars in improper laboratory billing.

       47.     Fraudulent Inducement (Count III).        BCBSTX contends the above-described

material misrepresentations and omissions fraudulently induced it to continue to pay claims for

laboratory services at elevated rural hospital rates and to continue the parties’ contractual

relationship, which it would not have otherwise done.

       48.     Money Had and Received (Count IV). Finally, BCBSTX contends Little River’s

improper conduct resulted in its unjust enrichment of money that equitably belongs to BCBSTX

and which would be unfair for Little River to retain.

                                      III. Reasons For the Award

                                          A. Preliminary Issues

       49.     The central issue in this proceeding is the extent to which, if any, the Contracts

covered Little River’s provision of laboratory services between 2014 and 2017 to BCBSTX

members whose laboratory specimens were drawn by Little River-employed collectors at

locations remote from the hospital and analyzed by third-party reference labs. Each of the

parties assert multiple claims and raise several points that they contend inform the issues, which

will be addressed first: (1) the role of the Medicare Improvements for Patients and Providers Act

of 2008 (“MIPPA”) and related CMS regulations in interpreting the Contracts; (2) the legal

effect of BCBSTX’s claims payment over the course of many years after having conducted a

review of the underlying records; (3) the documented presence of corruption in reference lab

billing by other rural hospitals; (4) the extent to which, if any, the Contracts must be construed in

Little River’s favor as the insureds’ assignee; and (5) the role of equity in awarding the parties’

respective claims for money had and received.




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              1. MIPPA and accompanying regulations do not apply to the private-party
                              contracts before the Tribunal.

        50.     Medicare provides reimbursement for diagnostic laboratory tests on CAH

outpatients at 101 percent of reasonable cost. See MEDICARE BENEFIT POLICY MANUAL,

CHAPTER 6. The CMS defines an “outpatient” as “a person who has not been admitted as an

inpatient but who is registered on the hospital or CAH records as an outpatient and receives

services (rather than supplies alone) directly from the hospital or CAH.” 42 CFR § 410.2. Little

River, a CAH, registered those persons from whom a sample was collected by a Little River

employee as outpatients on the hospital records. As for whether those persons received the

hospital’s services “directly,” the Medicare processing manual explains:

                In order for the individual to be receiving services directly from the
                CAH, the individual must either be receiving outpatient services in the
                CAH on the same day the specimen is collected, or the specimen must
                be collected by an employee of the CAH.

MEDICARE CLAIMS PROCESS MANUAL, CH. 4, § 250.6 (emphasis added). Because off-campus

laboratory specimens were collected by Little River employees, the persons from whom the

specimens were drawn received services “directly from [Little River]” and qualified as

“outpatients” under MIPPA. For services on or after July 1, 2009, the regulations specifically

state that “an individual is no longer required to be physically present at the CAH at the time the

specimen is collected.” Id. at Ch. 16, § 40.3. The federal government thus chose to subsidize

critical access hospitals by increased Medicare reimbursements for some off-campus laboratory

patients.

        51.     The private Contracts at issue do not specifically define how laboratory services

are to be provided or under what circumstances they are considered provided on an “outpatient”

basis. It is not unusual for those in the healthcare industry to look to Medicare for guidance




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when policies are silent or unclear on an issue, and healthcare insurers often use variations of the

Medicare system for payment. Trial Ex. 35 at 0013-14 (Fay Expert Report). BCBSTX itself

refers to CMS provisions in the Contracts and in its own internal policies. For example, it

requires billing on CMS-approved forms for physicians (CMS-1500) and hospitals (UB-04). See

PPO MANUAL, SECTION F. Little River claims it was reasonable for it to rely on the CMS model

to expand its outreach laboratory program because Medicare allowed the type of services Little

River was providing at off-campus locations, the Contracts did not address the issue, and over

the course of many years BCBSTX routinely paid Little River for such claims. Little River

readily acknowledges that MIPPA, which was enacted after execution of the Old Contracts, did

not change BCBSTX’s contractual obligations but contends it should inform what are, at best,

unclear or ambiguous contract terms.

       52.      There is nothing in MIPPA to indicate the federal government intended for private

payors to be bound by its provisions or accompanying regulations when contracting for

outpatient laboratory services.   The Contracts at issue are between private parties and are

governed by their express terms.         That Little River may have relied on MIPPA and

accompanying regulations in crafting its outreach laboratory program is some indication of its

motivation, but it is immaterial when construing the terms of the parties’ Contracts here.

             2. BCBSTX’s payment of claims does not waive its right to contest coverage,
                     operate as an estoppel or constitute ratification.

       53.      Prominent in Little River’s briefing and the evidence it presented is its position

that, through 2015, BCBSTX knowingly and consistently paid for laboratory services that were

provided to off-campus patients and conducted by third-party reference labs.            Even after

reviewing medical records and conducting investigations that revealed such practices on

individual claims, BCBSTX continued to pay the claims. Little River took this to mean that



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BCBSTX agreed with Little River’s interpretation of the Contracts, at least until the volume of

Little River’s patients grew beyond what BCBSTX considered acceptable. According to Little

River, BCBSTX’s payments ratified Little River’s position and waived its own, Little River

reasonably relied on BCBSTX’s course of conduct in the provision and expansion of its

laboratory services, and BCBSTX is now estopped from asserting a contrary view.

       54.    BCBTX contends Little River’s argument that BCBSTX acquiesced to its billing

practices by paying claims fails for two reasons. One, BCBSTX was not on notice because the

review was for medical necessity only and, in light of the volume of claims BCBSTX processes,

such records would not have drawn its attention. Two, BCBSTX’s post-review payment did not

waive its right to notification of Little River’s expanded laboratory outreach because the

Contracts contain clear non-waiver provisions and the equitable voluntary-payment doctrine does

not apply.

        55.   The Tribunal agrees with BCBSTX on the latter point. The Contracts contain

clear and unambiguous non-waiver provisions.        The PPO Contract specifically provides as

follows:

              [t]he failure of either party to insist upon strict performance of any of
              the terms of this Contract shall not be construed as waiver of its
              respective rights or remedies with respect to any subsequent breach of
              or default in any of the terms of this Contract.

Trial Ex. 57 at 0006. BCBSTX is one of the largest insurers in Texas and processes some

375,000 claims per day. Trial Tr. (Day 6) at 377:8-15 (Monroe). BCBSTX’s payment of a

claim after conducting a review of the underlying records is some indication of its knowledge as

to how Little River was billing a particular claim. But the non-waiver provision precludes any

argument that, by paying some of Little River’s laboratory claims, BCBSTX is somehow

precluded from contesting Little River’s compliance with the conditions for coverage or payment



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of other claims under the Contracts. Shields Ltd. P’ship v. Bradberry, 526 S.W.3d 471, 481

(Tex. 2017) (stating that “engaging in the very conduct disclaimed as a basis for waiver is

insufficient as a matter of law to nullify the nonwaiver provision.”). However, because the non-

waiver provision applies “with respect to any subsequent breach,” it does not apply to payments

that were made during the time period before BCBSTX issued the prepayment-review notice.

       56.     The extensive prior course of dealing between Little River and BCBSTX does

demonstrate, however, that BCBSTX routinely paid for Little River’s utilization of reference

labs for over a decade before this dispute arose. When Little River began advanced lipid testing

in April 2015, BCBSTX began requesting medical records for a significant number, 50% of the

claims, before paying them. Trial Ex. 312. BCBSTX consistently paid such claims through

2015 regardless of the patients’ location or the use of reference labs. Trial Exs. 312, 3003-3283.

This continued during the pre-payment review period, during which BCBSTX did not deny Little

River’s claims based on the location of the patient or partial use of a reference lab. Trial Exs.

3302-3325. And even BCBSTX’s denials in the Spring of 2017, when the New Contracts were

in place, did not object to the patients’ location or the use of a reference lab. Trial Exs. 1165-67;

1169; 1173; 1179; 1185; 1204; 1209. By paying such claims, BCBSTX did not waive its right to

subsequently contest coverage based on the patients’ location or reference-lab use, but the record

does reflect a course of dealing between the parties that is consistent with Little River’s

contractual interpretation.

          3. The laboratory billing practices of other rural hospitals are not before
                    the Tribunal and are immaterial to this proceeding.

       57.     Little River was not the only struggling rural hospital that attempted to increase

revenue by developing and expanding outreach laboratory programs. Evidence was presented

generally referencing various laboratory schemes in which other rural hospitals had engaged,



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some of which resulted in civil actions and even criminal indictments. BCBSTX points to these

other instances of misconduct in an attempt to paint the same picture with Little River.

However, the manner and means of other hospitals’ laboratory billings differed in various

material respects and are not relevant to resolution of the issues before the Tribunal, which have

been decided solely on the Contracts, evidence, authorities and arguments presented in this

proceeding.

                                        4. The Contracts are not ambiguous.

       58.     Little River argues that, to the extent coverage under the Contracts or BCBSTX’s

policy manuals is ambiguous, Little River’s interpretation should prevail because it is reasonable

and Little River stands in the shoes of BCBSTX’s insureds by virtue of their assignments.

BCBSTX counters that Little River is a sophisticated commercial entity disputing hospital

contract terms and, as such, is not entitled to the interpretational protections that are afforded an

insured disputing coverage language in an insurance contract. The Tribunal finds that the

contractual provisions at issue are not ambiguous, and thus does not need to address this issue.

                   5. The Contracts preclude claims for money had and received.

       59.     A claim for money had and received is equitable in nature. Best Buy Co. v.

Barrera, 248 S.W.3d 160, 162 (Tex. 2007). A party may not pursue equitable theories of

recovery when a valid, express contract governs the dispute. Fortune Prod. Co. v. Conoco, Inc.,

52 S.W.3d 671, 684 (Tex. 2000). Because the Contracts before the Tribunal are valid and

govern the subject matter of the dispute, the parties’ respective claims for money had and

received are precluded as a matter of law.

       60.     Having resolved these points, the Tribunal now turns to the claims at issue and the

parties’ respective defenses thereto.




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                                   B. Little River’s Claims

                          1.     BCBSTX Breached The Contracts.
                                   (Counts I, II, III & IV)

       61.    The plan documents. At the heart of this dispute is the question of coverage under

BCBSTX’s insurance plan documents. The relevant provisions of the Contracts are generally as

follows.

   •         Contracting Parties. The PPO and Indemnity Contracts state that they are
             between BCBSTX “and Richards Memorial Hospital, a hospital located at
             Milam County, Texas . . . .” Trial Ex. 57-0001; Trial Ex. 59-0001 (underline
             in original). The HMO Contract refers to “Richard Memorial Hospital on
             behalf of each of the individual Hospitals and Provider IDs listed herein in
             Attachment C.” Trial Ex. 58-0005 (underline in original).

   •         “Covered Services.” The PPO and Indemnity Contracts describe the
             services that are covered as “those acute care inpatient and outpatient
             hospital services for which benefits are available under a Subscriber’s health
             care benefit plan.” Trial Ex. 0057-0001; Trial Ex. 59-0001. The HMO
             Contract covers “those health services specified and defined as Covered
             Services under the terms of a Member’s Health Plan.” Trial Ex. 58-0006.

   •         “Billing; Rules and Regulations.” The PPO and Indemnity Contracts
             provide that the hospital “agrees to abide by rules, regulations and
             procedures pertaining to functions encompassed in this Contract that
             BCBSTX may from time to time adopt in policy statements, newsletters or
             other communications to [the hospital].” Trial Ex. 57-0003; Trial Ex. 59-
             0003.

   •         “Payment of Benefits.”          Under the PPO and Indemnity Contracts,
             BCBSTX agreed to pay the contracted benefits “[u]pon completion by [the
             hospital] of the billing requirements of this Contract.” Trial Ex. 57-0003;
             Trial Ex. 59-0003.

       62.    There is no question that the Contracts provide coverage for laboratory services.

Nor does there appear to be any disagreement that the laboratory services at issue were

performed upon orders made by physicians, the specimens were drawn from BCBSTX members,

the testing was performed on the specimens that were drawn, and the results were provided to the

ordering providers and patients. The key issues are whether Little River’s billing for laboratory



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testing that was performed by third-party reference labs violated BCBSTX’s prohibition on “pass

through billing,” and whether the Contracts required laboratory specimens to be procured from

patients who were physically present at the Rockdale Hospital.

              a.        Little River’s use of reference labs did not violate the Contracts’
                                   prohibition on pass-through billing.

       63.     The Old Contracts contain no limit or prohibition on the hospital’s use of

reference labs, nor do they mention or define the term “pass through billing.” They do provide

that the hospital “agrees to abide by rules, regulations and procedures pertaining to functions

encompassed in this Contract that BCBSTX may from time to time adopt in policy statements,

newsletters or other communications to the [Hospital].” Trial Ex. 57 at 0003. On January 1,

2015, BCBSTX added a provision on “pass through billing” to its PPO Provider Manual with the

following definition:

             Pass through billing is not permitted by BCBSTX. Pass-through billing
             occurs when the ordering provider requests and bills for a service, but the
             service is not performed by the ordering provider. The performing provider
             should bill for these services unless otherwise approved by BCBSTX.

             BCBSTX does not consider the following scenarios to be pass-through
             billing:

               1) The service of the performing provider is performed at the place of
               service of the ordering provider and is billed by the ordering provider,
               or

               2) The service is provided by an employee of a physician or
               professional provider, e.g., Physician Assistant, Surgical Assistant,
               Advanced Practice Nurse, Clinical Nurse Specialist, Certified Nurse
               Midwife and Registered First Assistant, who is under the direct
               supervision of the ordering provider and the service is billed by the
               ordering provider.

Trial Ex. 152 at 0024 (emphasis added).




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       64.     Only physicians or other licensed professionals can order a laboratory test. See,

e.g., Trial Ex. 47 at 266:11-23 (Wilmington Deposition). Accordingly physicians, not hospitals,

are generally considered “ordering providers.” See, e.g., Trial Ex. 35 at 0019 (Fay Expert

Report). Likewise, the articulated exceptions to the pass-through-billing prohibition relate to

when a physician can bill for services provided by another professional assistant under the

physician’s supervision. The Manual definition of pass-through billing thus appears to have

been designed to preclude doctors from profiting from laboratory referrals.     As such, they are

directed at physicians, not hospitals. See Trial Ex. 36 at 14-15 (Fay Rebuttal Report).

       65.     In early June, 2016, Little River received a letter notifying it that BCBSTX was

putting Little River on pre-payment review for a list of 122 CPT codes, principally involving

toxicology and sleep study. Trial Ex. 1062 (the “pre-payment review letter”). On June 8, 2016,

Ryan Downton, Little River’s Chief Legal Officer, contacted Alma Willis, a BCBSTX senior

investigator, about the letter. Ms. Willis, for the first time, conveyed BCBSTX’s concern that

Little River was engaged in prohibited pass-through billing. She directed Mr. Downton to the

above-referenced Provider Manual. Trial Ex. 152 at 0024. After reviewing the Manual, Mr.

Downton phoned Ms. Willis and explained his view that the term “pass-through billing” did not

apply to hospital use of a reference lab. According to Ms. Willis’s notes regarding the phone

calls, she relayed to Mr. Downton her policy interpretation that Little River could only bill for

laboratory services provided “under TIN of LRHC umbrella.” Trial Ex. 1072.           Mr. Downton

informed her that Little River would be acquiring the assets of Essential Testing LLC in Illinois,

and that services thereafter would be “under the LRH TIN.” Id. He also informed her that Little

River planned “to market outside of Texas for laboratory services.” Trial Ex. 1073. Each party




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was thus notified of Little River’s then-existing outreach laboratory services and those that it

planned in the future, and the other’s position regarding the same.

           66.      Thereafter, BCBSTX requested a meeting with Little River to discuss its billing

and the high volume of its laboratory services. On July 20, 2016, Mr. Downton and Jeff

Madison (Little River’s CEO) met with BCBSTX representatives David Cripe (Vice President

over Little River’s region) and Elsa Wilmington (BCBTX’s Network Manager).                                           Their

respective views on pass-through billing were discussed. BCBSTX communicated its position

that hospitals typically bill for reference lab tests only when the hospital performs some of the

tests itself or provides non-laboratory services to the patient on the same day, and Little River

indicated that, going forward, it would comply with that policy. 6                     Trial Tr. (Day 3) at 65:1-12

(Downton). At that meeting, BCBSTX hand delivered to Little River a notice terminating the

Old Contracts, prompting a renegotiation. The notice did not allege any wrongdoing by Little

River and was “without cause.”

           67.      After the meeting, Mr. Downton followed up with an email to Ms. Willis

describing the conversation at the above meeting as follows:

                 [w]e recently met with your Vice President for our region and he affirmed to
                 us that hospitals are permitted to use (and bill for) reference lab services (as
                 we have been doing). I reviewed the policy on ‘pass through billing’ that
                 was provide [sic] to us and it clearly does not apply in this situation. The
                 policy appears to be from a manual on professional fee billing and states that

6   This comports with the policy of BlueCross BlueShield of Oklahoma (BCBSOK), which states:

           If a hospital renders any service(s) for either (a) an inpatient or (b) an outpatient receiving other
           hospital services in addition to the lab services, the hospital should bill all of the lab services,
           along with the other hospital services, on the hospital’s claim. This is the proper protocol in such
           cases even when the hospital does not provide all of the lab services (i.e., if the hospital utilizes a
           reference lab for services [it is] unable to provide for its patient). In these instances, BCBSOK
           should not receive a separate claim from another provider for the lab services.

Trial. Ex. 1083-0003 (underline in original). The following question and answer section states that if the
hospital collects the sample and performs at least one of the laboratory services, it should submit a claim
for all of the laboratory services. Id. at 1083-0005. Though BCBSOK’s policies do not apply to Texas,
there was no contrary written policy for Texas and Mr. Cripe’s understanding mirrored that of BCBSOK.



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             a ordering provider may not bill for services he/she orders, but does not
             provide. As you know, a hospital does not order services – it merely
             provides them to hospital patients after the services have been ordered by
             physician. The physician is not permitted to bill for such services – instead,
             the hospital must bill for them. I will work on getting the dates you
             requested, but after (1) reviewing Medicare policies; (2) reviewing the
             BCBS policy provided to us; and (3) discussing the matter with your Vice
             President, it appears to me that our reference services previously provided to
             BCBS insured patients are completely consistent with both the law and our
             contract with BCBS. If you have a different perspective, I would appreciate
             if you would explain it in writing.

Trial Ex. 1116 at 004 (emphasis added). Mr. Cripe communicated Little River’s position within

BCBSTX, noting that Mr. Downton considered Little River’s actions proper and stating that the

dispute concerned what Mr. Cripe considered a “very gray area.” Trial Ex. 1096. BCBSTX

never provided a written explanation of “a different perspective” in response to Mr. Downton’s

request.

       68.      While the contract renegotiations were underway, BCBSTX alluded to Little

River’s use of reference labs not as illegal, fraudulent, or a contractual breach, but as a

“loophole” that the New Contracts “plugged.” Trial Exs. 272; 1227 at 002, 006. It also

distinguished Little River’s practices from those of other providers, some of whose problems

were described as “operational” and some “fraud related.” Trial Ex. 1094 at 0001. In contrast,

Little River’s practices were described as “excessive reimb do [sic] to old contracts…[s]uch as

Little River Hospital and I spoke with Dave, and he had already sch [sic] a meeting (which

occurred yesterday) with them to lower rates or term them if necessary.” Id.

       69.      The negotiations ultimately resulted in the New Contracts.         Those contracts

expressly covered “Diagnostic Services,” which were defined to mean that “the sole purpose for

an Outpatient Admission is the use of . . . laboratory and other testing capabilities.” In exchange,

a separate, significantly lower payment scale for “Diagnostic Services” was agreed upon which




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“reflect[ed] the appropriate reimbursement rates for [Little River’s] business.” Trial Ex. 2.

BCBSTX acknowledges that “[Little River’s] uptrend in laboratory billing was a factor regarding

the addition of the definition of “‘Diagnostic Services’ to the New Contracts.” Trial Ex. 26 at

0011.

        70.    Around the time that BCBSTX put Little River on pre-payment review, the

BCBSTX Policy Manual was updated as follows:

              If services are rendered directly by the Blue Choice PPO physician,
              professional provider, facility or ancillary provider, the services must be
              billed by the Blue Choice PPO physician, professional provider, facility or
              ancillary provider. However, if the Blue Choice PPO physician,
              professional provider, facility or ancillary provider does not directly
              perform the service and the service is rendered by another provider, only
              the rendering provider can bill for those services.

              Notes:
                      1) This does not apply to services provided by an employee of a
                   Blue Choice PPO physician, professional provider, facility or
                   ancillary provider e.g. Physician Assistant, Surgical Assistant,
                   Advanced Practice Nurse, Clinical Nurse Specialist, Certified Nurse
                   Midwife and Registered Nurse First Assistant, who is under the direct
                   supervision of the billing physician, professional provider, facility or
                   ancillary provider.

Trial Ex. 164 at 0002 (June 21, 2016 update). Over a year later, on September 15, 2017,

BCBSTX again updated its Policy Manual with the following definition of pass-through billing:

               Pass-through billing occurs when the ordering physician, professional
               provider, facility, or ancillary provider requests and bills for a service,
               but the service is not performed by the ordering physician,
               professional provider, facility, or ancillary provider.

Trial Ex. 102 at 001. These updates occurred at a time when Little River was not billing for

reference lab services unless it was performing the majority of the test at the hospital laboratory,

which comported with BCBSTX’s interpretation of the pass-through billing policy as it was

communicated to Mr. Downton. Trial Tr. (Day 3) at 65:1-12 (Downton); Trial Tr. (Day 2) at




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53:10-15 (Cook)(testifying the new equipment was operational and running specimens in June,

July of 2016). On August 22, 2016, Mr. Downton notified Ms. Willis: “All vendors stopped

providing services on behalf of [Little River] on receipt of your June 2016 letter.” Trial Ex.

1116 at 002.

       71.      The Tribunal finds that BCBSTX’s initial pass-through billing policy did not

prohibit Little River’s use of reference labs. As BCBSTX’s expert witness, Kara McVey,

explained:

                BCBSTX has not and did not disallow the use of a reference laboratory by
                a hospital. The only requirement that BCBSTX has is that the claim for
                services be submitted correctly, with the appropriate modifiers that
                disclose the use of the reference laboratory and the appropriate type of bill
                for that patient receiving reference laboratory services.

Trial Ex. 41 at 0034 (McVey Expert Report). This comports with the testimony of various other

witnesses, who uniformly testified that hospitals routinely bill insurance companies for reference

lab services.   See Trial Tr. (Day 8) at 87:15-20 (Benton); Trial Tr. (Day 7) at 247:12-25

(McVey); Trial Tr. (Day 2) at 277:22-278:1 (Downton); Trial Tr. (Day 4) at 192:3-193:10

(Herbers); Trial Tr. (Day 9) at 13:20-14:1 (Smittle) (“Q. And when your hospitals use a

reference lab, do they bill for those services? A. If we obtain the specimen, then we bill for it.

It’s our rule of thumb.”).

       72.      Even if the policy manuals’ updated definitions prohibited pass-through billing as

BCBSTX claims, they cannot be applied retroactively to alleviate BCBSTX’s contractual

payment obligations that were incurred before the updates. After the updates, Little River was

conducting testing on its collected samples at the hospital laboratory and only sending out those

components for which it was not equipped, which was in keeping with the New Contracts. Little

River did not violate the Contracts’ prohibition on pass-through billing.




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        b.     Little River’s use of reference labs did not violate the contractual prohibition
                            against assignment or subcontracting.

       73.     The Contracts contain the following provision:

               Neither [Little River] nor BCBSTX shall assign, subcontract, merge, sell,
               change ownership, or transfer any right, financial obligation, benefit or
               duty created by this contract without the prior written consent of the other
               party.

Trial Ex. 57 at 0006, Art. 13 (PPO Contract); Trial Ex. 59 at 0005-6, Art. 13 (Traditional

Contract); Trial Ex. 5 at 0016, Art. X (C) (HMO Contract). BCBSTX asserts that Little River’s

contracting with reference labs to perform testing that Little River’s laboratory was unable to

perform violates this prohibition. However, nothing in this provision indicates that Little River

may not utilize non-employed personnel and/or entities to assist in the provision of patient care

to BCBSTX members. Use of a reference lab does not constitute an “assignment” or the

“subcontracting” of a duty that Little River owes to BCBSTX.                 Indeed, the evidence

demonstrated that hospitals routinely utilize reference labs, and insurers generally pay for those

services. BCBSTX itself acknowledged that “subcontracting for services that Little River was

not capable of providing directly—as in the typical reference lab scenario—always could be

done with proper notice and coding.” BCBSTX Post-Hearing Brief at 19. This comports with

the report of BCBSTX’s expert witness, Ms. McVey, who averred that “BCBSTX has not and

did not disallow the use of a reference laboratory by a hospital.” Trial Ex. 41 at 0034 (McVey

Expert Report). In utilizing reference labs, Little River did not violate the contractual prohibition

against assignment or subcontracting.

                 c. The off-campus patients from whom hospital employees
               collected specimens for laboratory testing received “outpatient
                           hospital services” under the Contracts.




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       74.     Little River provided various services, including the collection of specimens for

testing, at various locations beyond the Rockdale Hospital itself, including physicians’ offices

and facilities operating under Little River’s corporate umbrella and Tax ID number. It also at

times employed providers to render services at locations Little River did not own or operate. For

example, it sent its employed surgeons to operate at non-affiliated hospitals and surgery centers.

It also operated a clinic at four school campuses in Rockdale, where a Little River nurse

practitioner and assistant went to each campus one day a week and saw faculty, staff and

students. Trial Tr. (Day 2) at 135:9-21 (Zinn). It also provided services at nearly 100 nursing

homes where Little River-employed nurses and other personnel took care of patients, and at non-

affiliated physician offices where Little River-employed phlebotomists took and processed

patient samples for testing. BCBSTX paid Little River for these services, including laboratory

services, provided at the above-described locations. Trial Tr. (Day 2) at 271:21-24; 255:20-24;

253: 7-24 (Downton).

       75.     The PPO Contract defines “Covered Services” as “inpatient and outpatient

hospital services for which benefits are available under a Subscriber’s health care benefit plan.”

Trial Ex. 57 at 0001. The Old PPO and Indemnity Contracts provide coverage for “outpatient

hospital services,” but do not define the term. Trial Ex. 0057-0001; Trial Ex. 59-0001. The

HMO Contract defines an “outpatient” as “a Member receiving Covered Services but not as an

Inpatient.” Trial Ex. 58 at 0007. BCBSTX’s Online Glossary defines “outpatient care” as

“[t]reatment that is provided to a patient who is able to return home after care without an

overnight stay in a hospital or other inpatient facility.” Trial Ex. 275 at 0013. Under the New

Contracts, “Outpatient Services” are defined to mean the subscriber “is admitted to [the] Hospital




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for services which are rendered in one day (24 hours) or overnight observation.” Trial Ex. 60 at

0005; Trial Ex. 61 at 0004; Trial Ex. 62 at 0005.

         76.      It is undisputed that the BCBSTX members from whom Little River-employed

collectors obtained specimens returned home without an overnight stay and the services were

rendered in one day.           To this extent, those members fit the contractual definition of an

“outpatient.” BCBSTX contends, however, that to qualify as an “outpatient” the member must

be “admitted to [the] Hospital,” meaning the member must appear at the hospital and receive

services there. Otherwise, BCBSTX argues, the member is a “non-patient” and any services

rendered to non-patients are not covered under the Contracts. BCBSTX points to the absence of

any reference to coverage for “nonpatients” of the hospital, or to services to be performed at

other locations, as an indication that there was no intent that BCBSTX would pay for such

services.

         77.      The term “non-patient” does not appear in the Contracts, which speak only in

terms of “inpatients” and “outpatients.” The CMS distinguishes between “outpatients” and

“nonpatients,” paying different rates for each depending upon the specific interaction between

the hospital and patient. CMS defines an “outpatient” as “a person who has not been admitted as

an inpatient but who is registered on the hospital or CAH records as an outpatient and receives

services (rather than supplies alone) directly from the hospital or CAH.” 42 CFR § 410.2. For

dates of service on or after July 1, 2009, CMS regulations provide that “an individual is no

longer required to be physically present at the CAH at the time the specimen is collected.” Id. at

Ch. 16, section 40.3; Trial Ex. 0036 at 0013-14.7 CMS defines a “nonpatient” as a person with



7According to Ms. McVey, to qualify as a laboratory-service outpatient the patient must be “receiving services from
a facility that met provider-based rules,” which require that the services be received from a facility located within a
35-mile radius of the hospital campus that is the main provider. Trial Ex. 40 at 25 (McVey Report). However, the



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whom the CAH has no direct interaction, that is, the patient is not on the CAH campus and a

CAH employee does not collect the patient’s laboratory specimen.8 For laboratory tests provided

to CMS “non-patients,” Medicare pays an amount based on the clinical diagnostic laboratory fee

schedule. Id. at section 40.3.1. When there is direct interaction between the CAH and the

patient, such as when a CAH-employee collects a patient specimen, CMS pays 101% of the

CAH’s allowable cost. Thus, the hospital receives payment for the services provided to both

“outpatients” and “non-patients,” only under different payment terms. Under CMS regulations,

the off-campus patients from whom Little River-employed collectors obtained specimens would

be considered “outpatients.”

        78.      BCBSTX does not rely on the CMS definition of “non-patient” but employs the

term in the ordinary sense, which it claims means the BCBSTX member has not been “admitted

to [the] Hospital” when he or she does not receive services there. BCBSTX’s position regarding

coverage for the provision of services at non-Rockdale Hospital locations has not been

consistent. In its summary judgment motion, BCBSTX claimed that the Contracts covered only

services provided at the Rockdale Hospital campus itself. See BCBSTX Motion for Partial

Summary Judgment at 14 (contending Little River “breached the contracts by billing for services

performed at locations other than [Little River’s] Rockdale hospital.”). Its current position is that

BCBSTX agreed to pay “for services performed at the Rockdale hospital and approved locations

. . . .” BCBSTX Post-Hearing Brief at 1 (emphasis added).




provider-based rules to which Ms. McVey refers, 42 CFR § 413.65, have no application to the definition of a
hospital outpatient, 42 CFR § 410.2. See Trial Ex. 36 at 8 n. 27 (Fay Rebuttal Report).

8The National Uniform Billing Committee (NUBC), an entity that defines patient types under Medicare, categorizes
services provided to “non-patients” as “outpatient services.’ See Trial Ex. 249 at 188 (Listing type of bill 014x:
“Hospital – Laboratory Services Provided to Non-Patients” as an “OP” service).



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       79.     Every year, Little River notified BCBSTX of physicians’ offices and facilities

operating under Little River’s corporate umbrella and Tax ID number, and requested BCBSTX

to “please add such providers and/or locations to our existing contract.” See, e.g., Trial Exs. 245

at 0001; 244 at 0001; 246. If a particular provider could not be added, Little River requested that

BCBSTX add the provider or location as “out-of-network services.” Id. BCBSTX did not

respond to these letters, though it appears to now agree with Little River that it routinely added

those locations to the Contracts. Trial Exs. 244-246; Trial Tr. (Day 2) at 271:21-24; 255:20-24;

253:7-24 (Downton). And BCBSTX routinely paid Little River for services provided at those

locations regardless of their distance from the Rockdale Hospital, including facilities located in

Georgetown, Austin, Bastrop, San Antonio, Waco and Temple, among others, an indication that

it was not a patient’s physical distance from the Rockdale Hospital main campus that determined

the patient’s status but the nature of the hospital’s interaction with the patient. Trial Ex. 245 at 3-

4; Trial Ex. 246 at 3. The direct nature of that interaction for the claims at issue indicates that the

services Little River provided fit within the contractual “outpatient” designation. The patients

from whom samples were collected were registered as outpatients of Little River and maintained

on the hospital records as such, and it was a Little River employee who directly collected the

laboratory specimen. Trial Tr. (Day 2) at 184:2-11 (Downton). The BCBSTX Glossary of terms

defines a “direct care provider” as “an individual or organization that offers care directly to the

member,” and provides as an example “a lab that performs the blood draw from a patient.” Trial

Ex. 275 at 007. According to the Glossary, “[t]he direct care provider should file claims to

[BCBSTX].” Id.

       80.     The contractual definition of “outpatients” as members receiving covered services

“not as an Inpatient” is an indication the term was meant to be broad. The Contracts could have




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expressly defined, and excluded, “non-patients” along the parameters BCBSTX now urges, but

they do not. Indeed, BCBSTX routinely paid nearly all Little River claims that were submitted

under type of bill “141,” which is only used to file “non-patient” laboratory claims. Trial Ex. 54

at 266:1-4 (McVey deposition). Such claims were paid under both the Old and New Contracts9

and, even after this arbitration was filed, BCBSTX acknowledged that these bill types “were

submitted correctly” and it is not seeking money back on any of these claims.

        81.      The Tribunal concludes that Little River’s laboratory claims for off-campus

members who were registered as outpatients of the hospital and from whom a Little River-

employed collector drew and processed the specimen reflect “outpatient hospital services” and

are “covered services” under the Contracts.

              d. Little River did not breach the contractual notification provision.

        82.      The Contracts contain the following notification requirement:

                 ARTICLE 10 – Notification of [Hospital] or BCBSTX Status Change

                 A. The [Hospital] or BCBSTX shall notify the other in writing of any
                    actions, policies, determinations, or internal or external
                    developments which may have a direct impact on the [Hospital’s]
                    or BCBSTX’s ability to discharge its obligations under this
                    Contract as soon as the [Hospital] or BCBSTX is aware of them.

                 B. Actions requiring notification by the [Hospital] or BCBSTX
                    include, but are not limited to, any (1) change in ownership,
                    specialty provided, or location . . . .

Trial Exhibits 57 at 0004; 59 at 0004.

        83.      BCBSTX contends Little River’s expansion into physicians’ offices constituted a

change in location, and its expansion from a rural hospital into a large-scale reference lab

constituted a change in specialty, either of which required notification under the Contracts. Id.

9 Between 2010 and 2016, not accounting for those patients who were not BCBSTX insureds, BCBSTX paid more
than 96% of bill type 141 (non-patient) claims, more than 95% of such claims in 2017 and 2018, and more than
3,000 claims after this arbitration was filed. Trial Ex. 42 at 00027; Trial Ex. 421; Claimant’s Demonstrative 9.



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Little River’s position is that providing additional laboratory draw locations is neither a change

in specialty provided, as Little River remained a critical access hospital, nor a change in location,

as Little River’s main hospital remained in Rockdale, Texas. But even if it were, Little River

contends, neither is a change that would “have a direct impact on [Little River’s] or BCBSTX’s

ability to discharge its obligations” under the Contracts. In any event, Little River argues,

BCBSTX is estopped from relying on the notification provision because, through its medical-

records review of Little River claims, BCBSTX had actual notice of the remote locations at

which Little River employees were collecting specimens and paid the claims without objection.

        84.      The Tribunal does not view Little River’s expansion as a “change” in specialty or

location, but an increase in the volume of patients it intended to serve. By Little River’s annual

letters, BCBSTX was on notice that Little River’s provider network was rapidly expanding and

that it intended to provide services well beyond its main campus. See Trial Exs. 245 at 0001;

244 at 0001; 246 (notifying BCBSTX of locations in Georgetown, Austin, Bastrop, San Antonio,

Waco and Temple). BCBSTX neither lodged an objection nor provided written responses to

Little River’s notification letters, and by its most recent position in this proceeding does not

appear to contest the services provided at what it now terms these “approved” off-campus

locations. BCBSTX Post-Hearing Brief at 1. And though BCBSTX’s review and payment of

Little River’s other off-campus claims does not waive its right to complain, see III.A.2, supra, it

is noteworthy that Little River’s billing practices were transparent; it did not attempt to hide or

obscure the patients’ locations or the reference labs that were performing the testing.10 The

reference lab logos appear on the medical records that Little River submitted for review, as do

the physicians’ offices where the specimens were drawn.

10The thousands of records that BCBSTX reviewed in 2015 contained information regarding the patients’ locations
and the use of a reference lab. And BCBSTX paid the claims after actually reviewing the records in support. Trial
Exs. 3202, 3320, 3315, 3317, 3318, 3324.



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       85.     BCBSTX acknowledges that the Contracts contain no volume limitations and

characterizes Little River’s volume increase as “a symptom of the problem” of its misuse of

reference labs and provision of services to non-patients. BCBSTX Post-Hearing Response Brief

at 12. The Tribunal has concluded, however, that Little River did not misuse reference labs and

that the services it provided to off-campus patients qualified as “outpatient hospital services”

under the Contracts. But even if Little River’s expansion could be considered a “change” in

specialty or location as BCBSTX contends, the Tribunal concludes that it was not shown to be

the type of development that would directly impact either party’s ability to discharge their

respective contractual obligations, which is the required trigger for notification. Id. Little River

did not breach the Contracts’ notification requirements.

                   e. Little River met its initial burden to demonstrate that
                              the underlying claims were payable.

       86.     BCBSTX argues Little River failed to meet its burden to demonstrate that the

underlying claims for which it seeks to recover were, in fact, payable. Specifically, BCBSTX

claims Little River presented no evidence that any of the alleged underpaid claims were (1)

covered services eligible for payment under a member’s benefit plan, (2) medically necessary, or

(3) supported by Little River documentation to substantiate the services. BCBSTX contends that

for claims billed before July 2016, when Little River was able to perform some of the tests at its

hospital laboratory, Little River failed to prove that it performed the services billed. And for

claims billed thereafter, BCBSTX argues that the evidence was anecdotal and insufficient to

prove it is entitled to recover on all 28,000+ claims that were submitted.

       87.     The Tribunal finds that, with the exception of $1,935,643.25 in billed charges to

persons BCBSTX alleges are not its insureds and $529,072.44 in billed charges that BCBSTX

alleges were not medically necessary (collectively “the exceptions”), Little River met its initial



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burden to demonstrate that the services for which it billed were provided to BCBSTX insureds,

met the requirements for medical necessity, and were supported by Little River documentation

sufficient to substantiate the services. In reaching this conclusion, the Tribunal has reviewed and

adopts the analysis of Little River’s expert, Tony Fay. See Trial Ex. 35 at 0018-22 (Fay Expert

Report); Trial Ex. 36 at 0039-42 (Fay Expert Rebuttal Report). As for the exceptions, if

BCBSTX denied the claims in a timely and appropriate manner, Little River could have pursued

alternative avenues for collection and/or appealed the medical-necessity determinations and thus

mitigated its damages. 11 Accordingly, whether the exceptions should apply depends upon the

disposition of Little River’s claim that BCBSTX failed to timely and appropriately adjudicate the

claims. See III.B.1.h, infra.

                       f. The coding errors BCBSTX alleges do not alleviate
                                its contractual payment obligations.

        88.      To be payable under the Contracts, the claims must be complete and accurate

regarding the services performed. Relying on the testimony of its expert, Ms. McVey, BCBSTX

contends Little River’s claims are not payable due to various billing errors (such as incorrect

coding, missing or incorrect modifiers) and incomplete documentation (such as missing

physician signatures or dates). The alleged billing errors outlined in Ms. McVey’s Reports were

first raised with Little River when the parties exchanged their expert reports in this proceeding

on April 15, 2019. The Tribunal questions BCBSTX’s ability to raise these issues at this late

stage with no prior notice. There is nothing to indicate that had such errors been raised with

Little River before, during, or immediately after the pre-payment review period, they could not

have been corrected and the claims resubmitted. If the claims had then been ultimately denied,

Little River could presumably have timely invoked avenues of appeal, sought to recover out-of-

11BCBSTX stipulated that it would not raise the failure to appeal or exhaust any administrative remedy as a defense
in this proceeding. Trial Tr. (Day 8) at 158:19-159 (Andersen testimony).



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network benefits and/or pursued patient responsibility. The Tribunal thus has serious concerns

regarding estoppel. Nonetheless, the Tribunal finds that the alleged errors in coding or incorrect

application of modifiers do not alleviate BCBSTX’s payment obligations.

        89.     Though Ms. McVey lodges a number of complaints, they primarily center on

whether the claims Little River submitted properly alerted BCBSTX as to who provided the

particular service and where it was provided. Specifically, the CMS-1450 claim form, also

known as a UB-04, is the standardized billing form for services provided by a hospital. Trial Ex.

40 at 0030 (McVey Expert Report); Trial Ex. 36 at 0021 (Fay Rebuttal Report). Detailed

instructions for billing on the UB-04 form are contained in the National Uniform Billing

Committee’s (NUBC) Official UB-04 Data Specification Manual. Trial Ex. 249. The form

contains a series of numbered boxes for the hospital to complete with claim data. Box 4, labeled

“Type of Bill,” requires entry of a three-digit code. The first digit reflects the “type of facility,”

which for a hospital is “1.” The second digit reflects “type of care,” for which a “3” indicates

outpatient laboratory services and a “4” indicates other. Trial Ex. 249 at 0018; Trial Ex. 36 at

0022 (Fay Rebuttal Report). The third digit codes are immaterial to the issues in this arbitration.

        90.     Ms. McVey contends Little River was required to bill for the services at issue

here using type of bill 141 because the patients from whom specimens were collected off-campus

were “nonpatients.”12 By using type of bill 131 instead of 141, Ms. McVey opines, Little River

intended to hide the fact that the testing was not performed by the Rockdale Hospital. Trial Ex.

40 at 0029 (McVey Expert Report). However, the Tribunal has concluded that Little River was

providing outpatient hospital services when its employees registered off-campus patients as

hospital outpatients with their consent and drew and processed their specimens. See III.B.1.c.

12The NUBC categorizes services provided to “non-patients” as “outpatient services.” See Trial Ex. 249 at 188
(Listing type of bill 014x: “Hospital – Laboratory Services Provided to Non-Patients” as an “OP” service).




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supra. And Ms. McVey acknowledges that “[a] hospital is entitled to file claims for services that

the hospital renders on an outpatient basis as long as those services meet the criteria of an

outpatient service.” Id. Moreover, if Little River submitted a claim with bill type 131 when it

should have used bill type 141, the claim should have been denied using the appropriate code to

indicate why, in which event Little River could have resubmitted the claim using bill type 141.

Trial Ex. 474. Little River’s use of bill type 131 was neither improper nor intended to deceive. 13

        91.      Ms. McVey also claims Little River should have appended a 90-modifier to the

relevant CPT code to notify BCBSTX that a reference lab was the service provider. However,

the 90 modifier is used by independent laboratories, not hospitals, to indicate use of a reference

lab by the independent laboratory. Trial Tr. (Day 2) at 205:7-207:13; 224:18-227-25 (Downton);

Trial Exs. 202, 331, 332. A portion of the claims Little River submitted from 2010-2014 did

append the 90-modifier to CPT codes that had been referred to a reference lab, from which Ms.

McVey surmises that Little River knew how to correctly submit such a claim and intended to

deceive BCBSTX by not using the modifier for the claims at issue here. However, the evidence

showed that, except for a brief one-month period in 2014 in which one Little River billing person

utilized the 90 modifier before being corrected, Little River stopped appending the 90 modifier

in June 2012 when its CERNER electronic medical records system was implemented. Trial Tr.

(Day 2) at 224:18-22725 (Downton). The Tribunal concludes that Little River’s failure to

append the 90 modifier to its laboratory claims was not improper or intended to deceive.

        92.      Having carefully reviewed the multiple alleged billing and coding errors

identified by Ms. McVey, and the rebuttal of such claims by Little River’s experts, the Tribunal



13 It is noteworthy that in 2017 and 2018, when Little River no longer employed phlebotomists in physicians’
offices, Little River submitted thousands of claims using “type of bill” 141 and BCBSTX paid over 95% of those
claims at a time when the claims were submitted during or after pre-payment review related to Little River’s
laboratory program. Trial Ex. 41; Trial Ex. 36 at 0024 (Fay Rebuttal Report); Little River Demonstrative No. 9.



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accepts the evidence presented by Messrs. Fay and Herbers on these points and concludes that

the alleged errors do not alleviate BCBSTX’s contractual payment obligations.

                 g.      BCBSTX improperly recouped payments that were
                                  made to Little River.

       93.     The Contracts afford BCBSTX the right to recover overpayments. See, e.g., Trial

Ex. 57 at 0003, Art. 6(D). The BCBSTX Provider Manual describes the process that applies

when BCBSTX identifies and seeks to recoup an overpayment that has been made to a payee.

Specifically, BCBSTX is required to (1) provide a refund request letter, (2) explain the reason

for the refund, (3) include a remittance form and a postage-paid return envelope, and (4) send a

follow-up letter if a response is not received within 45 days. Trial Ex. 101 at 0042. Within 45

days of the payee’s receipt of the initial refund request letter, the provider may request a review

of the overpayment determination by submitting a Claim Review form. Id. According to the

Policy Manual, BCBSTX may recoup the overpayment “after the later of the expiration of the

Overpayment Review Deadline or the completion of the Claim Review Process provided that the

[provider] has submitted the Claim Review form within the Overpayment Review Deadline.” Id.

       94.     The process described in BCBSTX’s Policy Manual comports with Texas law,

which provides that a refund due to overpayment or completion of an audit may be recovered if

the insurer (1) timely notifies the provider in writing, (2) includes the specific claims and

amounts for which a refund is due, (3) for each claim, includes the basis and specific reasons for

the refund request, (4) includes notice of the provider’s right to appeal, and (5) describes the

methods by which it intends to recover the refund. 28 TEX. ADMIN. CODE § 21.2818 (Trial Ex.

550-47); TEX. INS. CODE § 1301.132 (Trial Ex. 548-30). If a provider disagrees with a recovery

request, the insurer must afford the provider an opportunity to appeal, and “the insurer may not

attempt to recover the overpayment until all appeal rights are exhausted.       TEX. INS. CODE §



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1301.132 (Trial Ex. 548-30). Further, the Texas Department of Insurance prohibits electronic

recoupment without the provider receiving any other notification.       Trial Ex. 551-12.     The

foregoing requirements do not affect an insurer’s “ability to recover an overpayment in the case

of fraud or a material misrepresentation by a [provider].” 28 TEX. ADMIN. CODE § 21.2818 (Trial

Ex. 550-48).

       95.      For those claims that BCBSTX paid Little River and later reversed that payment,

BCBSTX recouped approximately $9.1 million. Trial Ex. 37 at 0028 (Herbers Expert Report).

The evidence demonstrated that BCBSTX failed to comply with the contractual and legal notice

requirements necessary for BCBSTX to proceed with recoupment.              BCBSTX’s corporate

representative designated on the subject of recoupment was unable to answer any questions on

the topic. Trial Ex. 49 at 118:13-20 (Andersen deposition testimony). Moreover, BCBSTX

failed to demonstrate that Little River engaged in fraud or made material misrepresentations with

respect to the claims that BCBSTX recouped such that it was excused from complying with its

contractual and legal recoupment obligations. The Tribunal accepts the Herbers Expert Report

on this point and concludes that BCBSTX’s recoupment of the above amounts was improper.

However, the monies that BCBSTX recouped are not an additional element of damages as they

are already included in Little River’s shortfall damage calculation. Trial Ex. 37 at 0026 (Herbers

Expert Report). The improper recoupment did, however, contribute to Little River’s cash-flow

problems. Id.

                          h.      BCBSTX failed to timely or appropriately
                                   adjudicate Little River’s claims.

       96.      The claims Little River submitted to BCBSTX listed the tests that were performed

using CPT codes to describe the procedures and services performed.             The claims were

transmitted via a standard electronic format that hospitals use to submit healthcare claims, known



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in the industry as “837 Files.” Each claim included a CPT code for each test ordered, with a

separate line item and corresponding charge listed. BCBSTX would respond to each claim on a

line-by-line basis via an electronic format known as “835 Files,” indicating any adjustment to the

payment and the CPT code affected by the adjustment. To explain how a particular claim was

adjudicated, BCBSTX used what are known in the industry as Claim Adjustment Reason Codes

(“CARC Code”) and Remittance Advice Reason Codes (“RARC Code”).

       97.     The evidence showed that BCBSTX’s adjudication of Little River’s claims during

and after pre-payment review was inconsistent and, at times, inscrutable.            For example,

BCBSTX’s pre-payment review letter provided Little River with a detailed list of 122 CPT codes

for which Little River would be required to submit medical records before payment could occur.

Trial Ex. 1062. Thereafter, BCBSTX added codes without notifying Little River that further

payment locks had been implemented. The locks were ultimately expanded to include all

laboratory billing, which Little River did not learn until nearly a year later. Trial Tr. (Day 3) at

185:8-10 (Downton).       Twenty-two of the non-noticed CPT codes comprised 42.2% of

BCBSTX’s adjustments. Trial Ex. 37 at 0017 (Herbers Expert Report). Little River’s ability to

gather the appropriate medical records was constrained by BCBSTX’s failure to notify Little

River of the types of claims that would be subject to pre-payment review. Id.

       98.     Another confusing and inconsistent adjudication involved the use of CARC code

CO-252. A CO-252 denial indicates that “an attachment/other documentation is required to

adjudicate this claim/service.” Trial Ex. 37 at 0022 (Herbers Expert Report); Trial Tr. (Day 3) at

143 (Downton). Additional information may merely require correcting previously submitted

information, or, if requested, supplying medical-record support for the billed charge. Trial Ex.

37 at 0022 (Herbers Expert Report). Once medical records are provided, the claim must be




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reprocessed and either paid or denied for a valid reason. BCBSTX left a substantial number of

claims permanently denied based only on a medical-records request, even though the records had

been provided. Id.

       99.     The CO-252 adjustment code itself provides limited information of BCBSTX’s

request. Id. at 0040. Such an adjustment must be accompanied by a RARC code identifying the

type of documentation that is required, absent which the provider must be sent written

notification identifying what documents are needed to process the claim. Id.        BCBSTX must

reprocess the claim once the information is received, and must either pay the claim or deny it

with a valid reason. Id. On numerous occasions, BCBSTX failed to provide Little River with

notice of the information it needed to process the claim. Id. at 0022.

       100.    Another example concerns CARC code OA-216. The use of this code indicates

that the denial is based on the finding of a review organization after medical records have been

requested, provided, reviewed, and it has been determined the treatment was not medically

necessary. Code OA-216 was often used to deny payment before BCBSTX had requested

medical records from Little River, meaning a “review organization” could not have properly

made a medical-necessity determination before denying the claim. Id. at 0022-0024; Trial Tr.

(Day 3) at 142-143 (Downton).

       101.    The use of CARC code CO-45 provides another example. This adjustment code

means the billed charge exceeds the amount the insurer has negotiated to pay the provider. Trial

Ex. 37 at 0022 (Herbers Expert Report); Trial Tr. (Day 3) at 137-38 (Downton). For Little

River’s POC Contracts, a           CO-45 adjustment would be appropriate on every claim to

indicate the difference between the 100% cost and the negotiated         of billed-charges rate. Id.

BCBSTX’s own remittance 835 files to Little River indicated that “[t]his adjustment amount




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cannot equal the total service or claim charge amount.” Trial Ex. 37 at 0022 (Herbers Expert

Report); Trial Tr. (Day 3) at (Downton). Nonetheless, BCBSTX applied an improper CO-45

100% reduction to many of Little River’s claims, with $0 payment. Due to the typical healthcare

billing process, BCBSTX’s improper use of the CO-45 adjustment was difficult for Little River

to ascertain.   Trial Ex. 3 at 0023 (Herbers Expert Report); Trial Tr. (Day 3) at 165-66

(Downton); Trial Ex. 1155 at 0001 (Wilmington email) (“[t]he reason that [Little River] did not

know that the claims [sic] denied for medical necessity was that they came back with a CO-45

code which was contractual allowable.”).

       102.     The evidence demonstrated additional examples of confusing, inconsistent and

inappropriate adjudications by BCBSTX, many of which are further described in the Expert

Report of Mark Herbers and which the Tribunal accepts for this purpose. Trial Ex. 37 at 0021-

26 (Herbers Expert Report).

       103.     BCBSTX responds that the claims-processing issues Little River presents are

“entirely beside the point” because the claims are not payable under the Contracts. Because the

claims at issue are not payable, BCBSTX argues, “any issues with how they were processed is of

no moment.”      BCBSTX also contends the examples that Little River presented are not

statistically significant and are therefore insufficient to support its claims. For the reasons

already explained, the Tribunal does not agree that the claims at issue were not payable or that

BCBSTX’s claims-processing issues are “of no moment.” The numerous examples that Little

River provided of these and other problems with BCBSTX’s claims adjudication were

sufficiently significant to support Little River’s claim. BCBSTX’s inconsistent and confusing

adjudication of claims and use of adjustment codes made it difficult for Little River to ascertain

what BCBSTX considered to be acceptable or objectionable, and inhibited Little River’s ability




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to respond to or address BCBSTX’s concerns. See, e.g., Trial Ex. 1173 (April 10, 2017, email

from Little River billing manager to Ms. Wilmington indicating inconsistent, incorrect, and

confusing adjudications); Trial Ex. 1175 (April 11, 2017, BCBSTX internal email: “[a]s to

claims that did not deny for medical records from the March remit, I have found a few that don’t

make sense – no denials, no payment, no patient share . . . .”). The burden on Little River of

producing the voluminous medical records that BCBSTX requested was substantial. Trial Tr.

(Day 3) at 186-189; 192 (Downton); Trial Ex. 1173 (“[w]e have had to engage additional

resources and staffing to manage this activity, so in addition to not receiving payment for the

services provided to BCBS patients, we’ve incurred additional expenses in response to your

denials and apparent delays in payments.”).

       104.   BCBSTX also breached the Contracts by failing to respond in writing to Little

River’s requests for information. In addition to its failure to provide a written response to Mr.

Downton’s inquiry as to whether it had “a different perspective” on his pass-through billing

position, ¶ 67, supra, it failed to respond when Little River invoked the contractual dispute

resolution procedures by written notice to BCBSTX on April 13, 2017. Little River provided

BCBSTX with a detailed explanation of some of the problems it was experiencing with

BCBSTX’s claims adjudication.       Trial Exs. 1181 & 1183.       Under the dispute resolution

procedures, BCBSTX was required to provide a written response within 45 days:

                Art. 11A. If the HOSPITAL disagrees with BCBSTX regarding a
        Contract interpretation, the HOSPITAL will contact the BCBSTX provider
        contracting representative assigned to the HOSPITAL in writing and state the
        basis of the disagreement. BCBSTX must respond promptly in writing but no
        later than forty-five (45) days after receipt of the HOSPITAL’s letter and
        inform the HOSPITAL of BCBSTX’s position.

BCBSTX failed to respond in violation of the Contracts’ terms. Trial Tr. (Day 3) at 202:23-24;

203:11-17 (Downton); Trial Tr. (Day 6) at 212:3-6 (Cripe).



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          i.      The covenant of good faith and fair dealing does not apply to the parties’
                                   relationship (Count IV).

       105.    Little River alleges an independent cause of action for breach of the duty of good

faith and fair dealing, claiming the parties had a “special relationship” as a result of BCBSTX’s

unequal control over the claims adjudication process.         However, the relationship between

BCBSTX and Little River does not give rise to the type of duty of good faith and fair dealing

that has been recognized under Texas law. See, e.g., Hux v. S. Methodist Univ., 819 F.3d 776,

781-82 (5th Cir. 2016) (stating “Texas courts have refused to impose a duty of good faith and fair

dealing on any of the following relationships: . . . insurance company—third-party claimant.”).

Accordingly, Little River may not prevail on this claim.

                  2.      BCBSTX violated Texas prompt payment laws (Count V).

       106.    The Texas Insurance Code contains detailed requirements for the proper

submission of eligible healthcare claims and their subsequent processing by insurance

companies. TEX. INS. CODE § 843.336 et seq. (for HMOs); TEX. INS. CODE § 1301.101 et seq.

(for PPOs) (collectively the “Texas Prompt Pay Laws” or “TPPL”). The Texas Department of

Insurance, as the administrative agency that regulates health insurance companies operating in

Texas, implements regulations that further detail the TPPL requirements. 28 TAC § 21.2801 et

seq. The TPPL statutory and regulatory requirements are non-waivable. 28 TAC § 21.2817. To

invoke the TTPL’s reimbursement deadlines, the claims that the provider submits must be

“clean.” TEX. INS. CODE §§ 843.336, 1301.131.

       107.    Little River submitted its claims to BCBSTX electronically. Under the TPPL, an

insurer has 30 days after receipt of an electronic clean claim to take one of the following actions:

            (1) pay the total amount of the clean claim as specified in the contract
                between the preferred provider and the [insurer];




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           (2) deny the clean claim in its entirety after a determination that the [insurer]
               is not liable for the clean claim and notify the preferred provider in writing
               why the clean claim will not be paid;

           (3) notify the preferred provider in writing that the entire clean claim will be
               audited and pay 100 percent of the contracted rate on the claim to the
               preferred provider; or

           (4) pay the portion of the clean claim for which the [insurer] acknowledges
               liability as specified in the contract between the preferred provider and the
               [insurer], and:

               A. deny the remainder of the clean claim after a determination that the
                  [insurer] is not liable for the remainder of the clean claim and notify
                  the preferred provider in writing why the remainder of the clean claim
                  will not be paid; or

               B. notify the preferred provider in writing that the remainder of the clean
                  claim will be audited and pay 100 percent of the contracted rate on the
                  unpaid portion of the clean claim to the preferred provider.

28 TAC §§ 21.2802, 21.2807; TEX. INS. CODE §§ 843.338, 843.346, 1301.103. If the insurer

needs additional information to determine whether it is liable for a claim, such as a patient’s

medical records, it may request additional information from the treating provider within 30 days

of receiving the claim and must act on the claim within 15 days of receiving the information. 28

TAC §§ 21.2804. If the claim is not properly adjudicated within the later of 30 days of filing or

15 days of the insurer’s receipt of medical records, the insurer must pay statutory penalties. TEX.

INS. CODE §§ 843.342, 1301.137; 28 TAC §§ 21.2815.

       108.    An insurer that wishes to audit a claim must notify the provider in writing and pay

the provider 100% of the contracted rate. 28 TAC §§ 21.2802, 21.2807; TEX. INS. CODE §§

843.338, 843.346, 1301.103. Pursuant to the TPPL audit provisions, the insurer has 180 days to

investigate the claim. TEX. INS. CODE §§ 843.340, 1301.105. If the insurer determines that no

payment is owed, it may recover the overpayment if it timely (within 180 days of the provider’s

receipt of payment) notifies the provider of the basis for and specific reasons for the request, and



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the provider does not timely (within 45 days) make arrangements for repayment. TEX. INS. CODE

§§ 843.350, 1301.132; 28 TAC § 21.2818. If the provider disagrees with the insurer’s request for

recovery, the insurer must afford the provider an opportunity to appeal and may not recoup the

overpayment until all appeal rights are exhausted. Id. An insurer that fails to provide the

requisite notice and payment may not use the statutory audit procedures. TAC § 21.2809(c).

The above requirements do not affect an insurer’s ability to recover an overpayment in the case

of a provider’s fraud or material representation. Id.

       109.    Little River contends BCBSTX violated the TPPL by failing to pay claims on a

timely basis and by conducting an unauthorized pre-payment review audit. BCBSTX contests

Little River’s entitlement to recovery under the TPPL on a number of grounds: (a) Little River

failed to differentiate between fully-insured claims, to which the TPPL applies, and those that are

excluded from the TPPL as a matter of law; (b) Little River failed to meet its burden to show that

the claims for which it seeks to recover penalties were in fact clean; and (c) Little River’s fraud

and/or material representations preclude the application of TPPL penalties.

                a. Little River may only recover TPPL penalties for fully-insured claims
                                 that are not subject to ERISA.

       110.    The TPPL applies only to healthcare claims that are fully insured and not subject

to ERISA. See Health Care Services Corp. v. Methodist Hospital of Dallas, 814 F.3d 242 (5th

Cir. 2016); see also North Cypress Med. Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d 182,

201 (5th Cir. 2015); Houston Methodist Hosp. v. Humana Ins. Co., 266 F.Supp.3d 939, 959-60

(S.D. Tex. 2017). Little River contends the above authorities are distinguishable and the TPPL

should apply to all of its claims because the Contracts bound BCBSTX to comply with the same

TPPL reimbursement deadlines and terms for all plans, and because BCBSTX acted not solely as

an administrator in this case but as an insurer by using its own health insurance policy to deny



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coverage for laboratory services rather than that of the self-insured member’s plan. The statutory

framework, however, does not support Little River’s position.

       111.    The TPPL applies to plans in which “an insurer provides, through the insurer’s

health insurance policy, for the payment of a level of coverage that is different depending on

whether an insured uses a preferred provider or a nonpreferred provider.” See TEX. INS. CODE §

1301.0041 (emphasis added). Whether or not BCBSTX contractually agreed to abide by the

TPPL for all subscribers or acted as an “insurer” when using its own insurance policy to deny

coverage for laboratory services, there is no evidence that BCBSTX bore the risk of loss through

its policy when, acting as an administrator, it paid claims on behalf of a self-funded plan. See

Methodist, 814 F.3d at 248 (Chapter 1301 is not applicable to BCBSTX’s activities as

administrator of the self-funded plans . . . .). The same is true for claims submitted under federal

and state government plans, and for the processing of claims under the BlueCard program. Id. at

248, 251, 253-55. Accordingly, Little River may not seek an award of TPPL penalties based on

claims that are not fully insured, non-ERISA claims.

                b. The claims Little River submitted to BCBSTX for payment were clean.

       112.    An electronic submission is considered a clean claim if “the claim is submitted

using the Institutional 837 (ASC X12N 837) format . . .” and all information included in the

claim is “complete, legible, and accurate.” TEX. INS. CODE §§ 843.336(c), 1301.131(b) and (d);

28 TAC §§ 21.2803(g). To be considered clean, the claim must include all of the required data

elements. TEX. INS. CODE §§ 843.336, 1301.131. Little River submitted the claims in dispute to

BCBSTX electronically using the UB-04 dataset known as the Institutional 837, and per

BCBSTX’s direction Little River used the BCBSTX Availity Clearinghouse, which

automatically rejects claims unless all of the required fields are populated.




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       113.    BCBSTX argues that the acceptance by Availity means only that the required

fields were populated, not that they were populated correctly. According to BCBSTX, in order

to be clean a claim must be payable. Relying on the testimony of Ms. McVey, BCBSTX

contends those claims submitted with incorrect bill types in box 4 of the claim form are not

payable and therefore not clean. For various other alleged coding errors and shortcomings

identified by Ms. McVey, BCBSTX contends a statistically valid sample indicates that none of

the claims were payable and therefore none were clean. Without this prerequisite, BCBSTX

argues, Little River may not invoke the TPPL protections.

       114.    Whether or not a claim is ultimately payable is a separate inquiry from whether or

not it is clean. A claim that is submitted using the 837 format and containing all of the necessary

data elements is considered clean. TEX. INS. CODE §§ 843.338, 1301.137. Once a clean claim is

submitted, it is up to the insurer to determine whether it is obligated to pay and the timelines for

making that determination are activated. TEX. INS. CODE §§ 843.336(c), 1301.137. The issues

raised by Ms. McVey involve a substantive analysis of the claims themselves rather than whether

they contained all of the necessary data elements when submitted. For example, whether the bill

type 131 or 141 should have been used requires analyzing the patient’s location and

classification when the lab specimen was drawn, which is the type of information an insurer

examines after a clean claim is submitted to determine whether it is payable. TEX. INS. CODE §§

843.336(c), 1301.137. The same is true for the 90-modifier and other codes that Ms. McVey

claims Little River failed to use or used improperly. These and other substantive points of

dispute, such as BCBSTX’s contentions that Little River engaged in improper pass-through

billing, submitted insufficient documentation to support the procedures billed and submitted

claims for services that were not medically necessary, are not the type of data points the TPPL




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requires for a claim to be clean.14 If such substantive issues required final adjudication—here,

all the way through arbitration and potentially beyond—before the claims could be considered

“clean,” then the TPPL’s entire timely-payment purpose would be thwarted. The Tribunal

concludes that Little River submitted “clean” claims as the TPPL defines that term.

                           c. BCBSTX did not comply with the TPPL audit provisions.

         115.     Once an insurer receives an electronic clean claim from a provider, it has 30 days

to make a determination as to whether the claim is payable. If the insurer cannot determine

whether the claim is payable within that time, the insurer may choose to audit the claim and

invoke a 180-day investigatory period. TEX. INS. CODE §§ 843.338, 843.346, 1301.103; 28 TAC

§§ 21.2802, 21.2807. This is the course that BCBSTX chose by its pre-payment review letter.

Trial Ex. 48, p. 207: 19 (Tierney deposition) (“[p]repayment review is an audit process.”). But it

did not comply with the TPPL audit requirements. Id. The TPPL requires that an insurer notify

the provider of its intent to audit claims. BCBSTX’s pre-payment review letter notified Little

River that it would conduct an audit based on 122 specific CPT codes. However, BCBSTX

subsequently expanded the scope of its audit by adding claims throughout 2016 and eventually

placing all of Little River’s laboratory claims under review in 2017. BCBSTX provided no

notice to Little River of the expanded scope of the audit, in violation of the TPPL notice

requirements. Id. BCBSTX further violated the TPPL by failing to first pay 100% of the claims

to be audited.      Accordingly, BCBSTX had no right to invoke the TPPL audit provisions,

including the 180-day investigatory period. TEX. INS. CODE §§ 843.340, 1301.105.

                             d. BCBSTX is liable for TPPL penalties for failure to pay
                                     claims within the statutory timelines.


14If an insurer determines that an electronically submitted claim is deficient, it must notify the provider within 30
days of the claim’s receipt. 28 TAC §§ 21.2808. To the extent any claims were not “clean,” BCBSTX failed to
notify Little River that they were deficient within the 30-day electronic submission timeline.



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       116.    BCBSTX failed to pay claims within the TPPL timelines, including thousands of

claims pended for medical-records review. The evidence shows that BCBSTX took more than

the statutorily required 15 days to pay 98% of the claims. For the facts and reasons set forth

above, and based on the testimony and evidence presented at the hearing, the Tribunal finds that

BCBSTX violated the TPPL and Little River is entitled to damages, penalties and interest

pursuant to Tex. Ins. Code §§ 843.342 and 1301.137 and Tex. Admin. Code 28 § 21.2815,

together with attorneys’ fees and costs pursuant to Tex. Ins. Code §§ 843.343, 1301.108 and Tex.

Admin. Code 28 § 21.2817.

                     3.     Little River lacks standing to assert claims for unfair
                   or deceptive insurance practices under Chapters 541 and 542 of
                           the Texas Insurance Code (Counts VI & VIII).

       117.    Little River asserts standing to pursue claims under Chapters 541 and 542 of the

Texas Insurance Code on the ground that BCBSTX members “assigned their rights under their

policies with [BCBSTX] to Little River.” Trial Ex. 1 at ¶ 115. The assignments are contained in

the patient consents and provide, in pertinent part, as follows:

               I understand that as a courtesy, Little River Healthcare and/or its
               authorized agents will make every reasonable effort to obtain
               reimbursement for ordered tests. I understand that I am making an
               assignment of my insurance plan benefits to Little River Healthcare and/or
               its authorized agents. I also authorize the release of any information
               continued in my records that is needed to file and process insurance or
               medical plan claims, to pursue appeals on any denied or partially paid
               claims, for legal pursuit as to any unpaid or partially paid claims, or to
               pursue any other remedies necessary in connection with same.

See Trial Ex. 247. The documents also state:

               I understand that Little River Healthcare may file a claim for benefits on
               my behalf but, whatever my coverage, it is a personal contract between me
               and my insurance company.

Id.




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       118.    The assignments upon which Little River relies are not broad enough to

encompass the extra-contractual remedies it seeks under the Texas Insurance Code. The patients

assigned their “insurance plan benefits” and the right to pursue remedies necessary in pursuing

any unpaid claims. The enhanced damages available under the Insurance Code are in addition to

and beyond what is necessary to obtain the insurance plan benefits that are the basis of the

assignment, and the Tribunal declines to imply from the patient consents derivative standing to

assert Insurance Code violations on the patient’s behalf.

       119.    Moreover, unlike common law remedies, “statutory remedies under the Texas

Insurance Code are personal and punitive in nature and the Insurance Code makes no provision

for assignability.” Am. S. Ins. Co. v. Buckley, 748 F.Supp.2d 610, 626 (E.D. Tex. 2010). The

Texarkana court of appeals has noted its agreement with the reasoning of three federal district

courts applying Texas law that Insurance Code claims are not assignable for the reasons

discussed in PPG Industries, Inc. v. JMB/Houston Ctrs. Partners, Ltd., 146 S.W.3d 79 (Tex.

2004). See Lee v. Rogers Agency, 517 S.W.3d 137, 146 n. 3 (Tex. App.—Texarkana 2016, pet

denied)(citing Great Am. Ins. Co. v. Fed. Ins. Co., Civ. No. 3:04-CV-2267-H, 2006 WL

2263312, at *10 (N.D. Tex. 2006) (stating “[E]ach and every policy argument articulated by the

Texas Supreme Court [in PPG Industries, Inc.] against assignment of a DTPA claim applies with

equal force to a claim brought under the Texas Insurance Code.”); Launius v. Allstate Ins. Co.,

Civ. No. 3:06-CV-0579-B, 2007 WL 1135347, at *6 (N.D. Tex. 2007)). Though Little River

contends these cases are factually distinguishable because they do not involve patient claims

assigned to a healthcare provider, neither the statute nor the case law support such a distinction.

The enhanced damages the Insurance Code affords are personal and punitive in nature, and the

Tribunal concludes they may not be assigned for the reasons articulated in the above authorities.




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Accordingly, Little River lacks standing to assert claims under the Insurance Code and its claims

based thereon are denied.

         4. The evidence was insufficient to support Little River’s claims under the Texas
                     Free Enterprise and Antitrust Act (Count VII).

       120.    Little River contends BCBSTX violated the Texas Free Enterprise and Antitrust

Act (“TFEAA”) by conspiring to impose coordinated restrictions on rural hospitals, including

Little River. According to Little River, BCBSTX conspired with other insurers to eliminate

competition and reduce the supply and availability of third-party laboratories in central Texas,

and to fix prices by renegotiating their expensive POC contracts and transitioning them to

substantially reduced standardized fee schedules. Though Little River’s Amended Demand

alleged violations of TFEAA sections 15.05(a)(conspiracy) and 15.05(b)(monopolization), its

Post-Hearing Brief withdrew the monopolization claim and added a claim for illegal price-fixing

under section 15.05(i). TEX. BUS. & COM. CODE §§ 15.05(a),(i); Little River Post-Hearing Brief,

p. 42 n. 235; p. 43 n. 246.

       121.    In support of its TFEAA claims, Little River points to an external presentation

BCBSTX made in July of 2017 to representatives of other third-party payors, such as Aetna,

Cigna, Humana and United, directing them to target rural hospitals and move them from POC

contracts to less-expensive standardized fee schedules, and to prohibit rural hospitals’ use of

reference labs. Trial Ex. 251. Little River contends BCBSTX later shared the presentation with

United Healthcare, which thereafter followed through on the scheme by demanding from Little

River a lower fee-based schedule for laboratory services. Trial Ex. 1229. According to Little

River this, and other evidence showing that BCBSTX’s true intent was to disincentivize Little

River’s provision of laboratory services so that those services would be diverted to BCBSTX’s




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lower-cost contractor (Quest), establish the type of anticompetitive behavior that the TFEAA

was meant to prohibit.

       122.    To prevail on an antitrust claim, a plaintiff must show, inter alia, an “antitrust

injury”—that is, that the alleged anticompetitive conduct decreased consumer choice or quality

of care, or increased consumer prices. See Ginzburg v. Memorial Healthcare Systems, Inc., 993

F.Supp. 998, 1014-15 (S.D. Tex.1997)(citing, inter alia, Doctor’s Hospital of Jefferson v.

Southeast Med. Alliance, Inc., 123 F.3d 301 (5th Cir. 1997)). The Tribunal has examined the

evidence presented and concludes that it is insufficient to demonstrate that BCBSTX’s alleged

anticompetitive conduct decreased consumer choice or quality in available laboratory services in

a sufficiently defined area, or that it increased consumer prices. See Trial Ex. 41 at 33-36

(McVey Rebuttal Report). Because Little River failed to prove antitrust injury, it may not

prevail on its TFEAA claims.

        5. The evidence was insufficient to show that BCBSTX fraudulently induced Little
                         River into the New Contracts (Count X).

       123.    Little River claims BCBSTX fraudulently induced it into executing the New

Contracts, which caused it to suffer the loss of rates equal to 100% of billed charges as an out-of-

network provider. Little River seeks recovery of $80.4 million under this count, together with

$371.3 million in lost enterprise value.

       124.    To establish its fraudulent inducement claim, Little River must prove the elements

for fraud, which include, inter alia, that BCBSTX made a material misrepresentation it knew to

be false intending for Little River to rely on it. See Formosa Plastics Corp. USA v. Presidio

Eng’rs & Contractors, Inc. 960 S.W.2d 41, 47 (Tex. 1998). According to Little River, BCBSTX

exerted financial pressure on Little River to force its acceptance of the New Contracts by cutting

off its cash flow through pre-payment review and making false reports to the OIG. Little River



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alleges BCBSTX fraudulently induced its execution of the New Contracts in two ways: (1)

BCBSTX concealed and misrepresented the reimbursement rate for the New Contracts; and (2) it

gave assurances that, in exchange for Little River’s acceptance of substantially lower

reimbursement rates, BCBSTX would pay for all reference lab services where Little River

performed at least one of the tests, even though it never intended to do so. BCBSTX’s alleged

misrepresentations concern a present fact (the payment rate) and a future act (that it would pay a

claim if Little River performed at least one of the tests). Fraud based on a promise to do an act in

the future is actionable when it is made with no intention of performing. Spoljaric v. Percival

Tours, Inc., 708 S.W.2d 432, 434 (Tex. 1986). Intent is determined at the time the representation

is made, but may be inferred from the party’s subsequent acts. Aquaplex, Inc. v. Rancho La

Valencia, Inc. 297 S.W.3d 768, 774-75 (Tex. 2009).

        125.     The payment rate.         During renegotiation of the Old Contracts, BCBSTX was

informed that Little River had a cost-to-charge ratio of                . 15 Trial Tr. (Day 5) at 343:8-14

(Cripe). This meant that if Little River received reimbursement from a payor for less than

of its charges on a given patient, it would lose money.                     According to Little River, it

communicated this rate to BCBSTX and BCBSTX represented that the New Contracts would

provide rates exceeding this ratio. Trial Ex. 1108; Trial Tr. (Day 6) at 133:6-136:7 (Cripe).

BCBSTX thereafter presented an offer that appeared to Little River to be consistent with that

representation. In reality, Little River contends, BCBTX had manipulated its model to reduce

the allowed amount to                 guaranteeing that Little River would suffer a loss on BCBSTX

patients. By not disclosing that calculation, Little River alleges, BCBSTX misled it into entering

the New Contracts.


15 Medicare pays Critical Access Hospitals an amount equal to 101% of their allowable cost by calculating what it
terms the “cost-to-charge” ratio on a regular basis. See Trial Ex. 37 at 0029 n. 23 (Herbers Expert Report).



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       126.    BCBSTX counters that it determined from public records that Little River’s CMS

cost-to-charge ratio was in the          range, which is why the parties ended up at the lesser

percentage that was ultimately agreed upon. Trial Tr. (Day 5) at 343:17-344:10 (Cripe). Little

River challenges Mr. Cripe’s testimony as not credible, pointing to documents in BCBSTX’s

possession that reflect Little River’s     Medicare payment rate and to an incorrectly calculated

     rate in BCBSTX’s Demonstrative No. 6 by which Little River claims BCBSTX attempted

to retroactively justify its prior misrepresentation. Little River acknowledges that BCBSTX’s

alleged misrepresentation, standing alone, may be insufficient to support a fraud claim because

Little River admitted it would have been forced to accept a      contract rate. Little River Post-

Hearing Brief, p. 28; Trial Tr. (Day 9) at 145:18-146:17 (Downton). But it contends BCBSTX’s

post hoc justification is evidence of BCBSTX’s fraudulent intent, as is its acknowledgment that

the new pricing model was intended to “disincentivize the billing that we were seeing for the lab

services.” Id.; Trial Tr. (Day 5) at 342:22-25 (Cripe).

       127.    The Tribunal concludes that the evidence demonstrates BCBSTX negotiated the

payment rate under the New Contracts aggressively in order to afford Little River the thinnest of

margins, but it is insufficient to show that BCBSTX deliberately miscalculated Little River’s

cost-to-charge ratio or intended to pay Little River below its actual costs. Trial Tr. (Day 5) at

344:2-3 (Cripe); Trial Ex. 47 at 186:13-187:2 (Wilmington Deposition). Though BCBSTX was

not willing to share with Little River what BCBSTX considered its proprietary modeling

technique, Ms. Wilmington indicated a willingness to discuss the numbers with Little River at

any time. Trial Ex. 1095. Mr. Cripe’s and Ms. Wilmington’s testimony that the intent was never

for Little River to lose money under the New Contracts was credible, as it would not have been

in BCBSTX’s best interest to lose Little River as an in-network provider. Trial Tr. (Day 5) at




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335:8-9 (Cripe).   Nor was the evidence sufficient to show that BCBSTX’s modeling was

performed with an intent to deceive rather than for the purpose of assessing the financial impact

of the proposed reimbursement rates under the New Contracts.           The rate reduction was a

business decision made by both parties, each of which had an independent right to terminate their

contractual relationship without cause and renegotiate on whatever terms each deemed

acceptable.

       128.    Intent to perform. Little River claims that BCBSTX’s subsequent expansion of its

pre-payment review audit on laboratory claims without notifying Little River, its failure to

follow audit procedures under Texas law to pay first and then investigate, its refusal to pay after

verifying that Little River was performing testing on campus, its improper pending and mass

denial of claims, its inconsistent and arbitrary claims adjudication, its continued mass denial of

claims even after Little River was removed from pre-payment review, and its improper

accusations of fraudulent billing practices to CMS, all indicate that BCBSTX never intended to

pay for laboratory services under the renegotiated contracts unless the volume decreased to an

arbitrary level that BCBSTX would accept. According to Little River, in the Fall of 2017, after it

had drastically reduced its services and laid off the majority of its staff, BCBSTX resumed

paying claims for the same services and even for some of the same patients for which it had

previously denied over $32 million in claims, further evidencing that BCBSTX never intended to

pay above a certain volume of laboratory claims.

       129.    The Tribunal agrees with Little River that BCBSTX failed to abide by the

Contracts in the above respects, and that its attitude toward the cash-flow problems Little River

was experiencing was unsympathetic at best. However, the mere failure to perform a contract is

no evidence of fraud, Formosa Plastics, 960 S.W.2d at 48, nor is a breach, even a deliberate one,




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sufficient proof that the promisor had no intent to perform when the contract was made. Because

BCBSTX had the right to terminate the contracts without cause at any time, BCBSTX had no

incentive to falsely induce Little River into the New Contracts with promises to pay and no intent

of performing. By entering into the New Contracts, BCBSTX did not forego its right to examine

Little River’s laboratory claims to determine their compliance with BCBSTX’s policies and

procedures before making payment.

       130.    Neither was the evidence sufficient to establish that BCBSTX’s Case-Notification

to the OIG accusing Little River of fraud was mere pretext, though BCBSTX was less than

forthright by failing to convey Little River’s explanation of its billing practices and its belief that

they were fully compliant with CMS regulations. In light of widespread concerns in the industry

at the time about potential fraudulent laboratory billing, BCBSTX’s investigation into Little

River’s billing practices was not unjustified in light of the dramatic increase in the volume of

Little River’s laboratory testing. BCBSTX’s report to the OIG is no evidence that it did not

intend to comply with the New Contracts at the time they were negotiated.

       131.    In sum, the evidence demonstrated that, even under the New Contracts, the parties

had a genuine disagreement over whether Little River’s laboratory billing practices were

permissible and was insufficient to establish that the New Contracts were procured by fraud.

Little River’s fraudulent inducement claim is denied.

       6.       Little River may not recover exemplary damages (Count XII).

       132.    Exemplary damages are not recoverable in an action for breach of contract.

Because Little River may not prevail on its tort-based or applicable statutory claims, it is not

entitled to an award of exemplary damages.

       7.      Little River’s request for a declaratory judgment is denied (Count XIII).




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       133.    Because Little River’s claims in this proceeding are mature and involve the same

parties and the same issues alleged in its request for a declaratory judgment, Count XIII is

denied. See Tucker v. Graham, 878 S.W.2d 681, 683 (Tex. App.—Eastland 1994, no writ).

                                    C.     BCBSTX’s Counterclaims

                      1. Little River complied with the contractual terms (Count I).

       134.    BCBSTX contends Little River breached the Contracts in the following respects:

(1) billing for services it did not render; (2) billing for services provided to non-patients; (3)

failure to provide notice of its laboratory outreach program; and (4) subcontracting its duty to

provide services. BCBSTX Post-Hearing Brief, pp. 12-18. According to BCBSTX, it is entitled

to recover in excess of $69 million in damages for monies that it paid Little River when Little

River was in breach of the Contracts. Id. at 31.

       135.    The grounds for BCBSTX’s breach-of-contract counterclaims are the same as

those asserted in defense of Little River’s claims. For the reasons explained above, BCBSTX’s

counterclaims fail.

     2. Little River did not commit fraud or fraudulent inducement (Counts II & III).

       136.    BCBSTX contends Little River committed fraud by failing to disclose that it was

billing for services it did not render and that were provided to non-patients. BCBSTX Post-

Hearing Brief, pp. 23-24. The grounds for BCBSTX’s fraud counterclaims are the same as those

it asserted in defense of Little River’s claims.        For the reasons explained above, these

counterclaims fail.




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                             III. Damages Award on Little River’s Claims

         137.    Pursuant to the Contracts between the parties, and for BCBSTX’s violations of

the Contracts and applicable law set forth above, Little River is entitled to damages for the

breach of contract claims on which it has prevailed as follows.

                                           A. Economic Damages

         138.    Little River was directly damaged by BCBSTX’s failure to pay for laboratory

claims that were appropriately billed by Little River pursuant to the Contracts and applicable

law. In light of the voluminous number of claims, expert testimony was required to calculate the

resulting total damages.

         139.    On behalf of Little River, Mr. Herbers conducted an analysis of the laboratory

claims files for the period January 1, 2016 through July 31, 2017. Trial Ex. 37. The Tribunal

has reviewed and accepts the expertise of Mr. Herbers and the process by which he developed a

claims database and applied filters to narrow claims to those at issue in this proceeding. 16 Trial

Ex. 37 at 0031-43. The Tribunal also adopts Mr. Herbers’ conclusions regarding the calculation

of damages to the extent described in this Interim Award.

         140.    Mr. Herbers divided his damage model into three periods:

           Period 1       Pre June 1, 2016           Claims prior to Prepayment Review
                                                     Audit and under the Old Contracts

           Period 2       June 1-Nov. 15, 2016 Claims under Prepayment Review Audit and
                                               under Old Contracts

           Period 3       November 16- May           Claims under Prepayment Review Audit but


16 As opposed to Ms. McVey, who relied on what she considered to be a statistically valid sample of 400 Little
River claims, Dr. Barnett (BCBSTX) and Mr. Benton (Little River) had access to all of the 837 and 835 files in
formulating their damage models, and were able to replicate each other’s data sets to within 1%. Trial Ex. 43 at 0009
(Benton Expert Report); Trial Ex. 37 at 0031-40 (Herbers Expert Report); Trial Tr. (Day 4) at 211:20-212:6
(Herbers). According to BCBSTX’s expert, running an analysis of every claim is preferable to statistical sampling
when it is possible to do so. Trial Tr. (Day 7) at 333:25-334:67 (Benton).




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                          17, 2017                   after New Contracts effective date

Id. at 37-0040. Dividing his calculation into the above periods, Mr. Herbers calculated the total

BCBSTX payment shortfall attributable to totally or partially denied claims at $47.755 million.

The Tribunal accepts Mr. Herbers’ calculation and awards Little River $47,755,000.00 in

damages for the shortfall.17

        141.     Patient responsibility. “Patient responsibility” refers to co-insurance, deductible

amounts and non-covered services that the subscriber, rather than BCBSTX, is responsible for

paying. Trial Ex. 37 at 0015 n. 13 (Herbers Expert Report). The Contracts require Little River

to bill patients for portions of a bill for which they are responsible within one year of the date of

service. Trial Exs. 57 at 0003; 59 at 0003. While Little River was appealing BCBSTX’s denials

and providing records, it was unable to pursue collection of patient-responsibility amounts.

Without finalized claims adjudication, Little River was unable to properly quantify the

appropriate patient-responsibility amounts and thus could not pursue collection from responsible

BCBSTX members. Likewise, Little River could not bill patients for the claims at issue in this

dispute because how the claims are resolved could reduce the patient-responsibility amounts. As

a result, Little River was denied the opportunity to collect from patients an additional aggregate

amount calculated by Mr. Herbers at $17.348 million. Trial Ex. 37 at 0043-45. The Tribunal has

reviewed, accepts and awards Mr. Herbers’ patient-responsibility calculation.

                                           B. Prompt Payment Penalties

        142.     The Tribunal has found that BCBSTX violated the Texas prompt-payment laws.

See supra at III.B.2. The Tribunal has reviewed and accepts, in part, the Expert Report of Mark



17 BCBSTX identified billed charges of $1,935,643.23 to persons it alleges are not its insureds (Trial Exs. 406-408)
and $529,072.44 it alleges were not medically necessary. Respondent’s Demonstrative 1. Had BCBSTX timely
adjudicated such claims, Little River would have had avenues to pursue collection that are no longer available. See
III.B.1.e., supra. Accordingly, the Tribunal declines to credit these amounts against the damages award.



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Herbers and related testimony regarding the calculation of prompt-pay penalties. Trial Ex. 37 at

0043-45 (Herbers Expert Report). According to Mr. Herbers’ calculation, the total prompt-pay

related penalties (including 18% interest on the base amounts calculated from each date of

service through the date of the arbitration together with base penalties and interest) total $27

million. Id. These calculations, however, improperly assume that all claims are subject to the

TPPL, when Little River is only entitled to recover penalties with respect to fully-funded, non-

ERISA claims. See supra at III.B.2.a. BCBSTX’s expert, Jeffrey D. Benton, calculated the

amount of penalties attributable to the excluded groups at $8.1 million. Trial Tr. (Day 8) at

109:8–110:l1 (Benton); Trial Ex. 43 (Benton Expert Rebuttal Report). The Tribunal accepts Mr.

Benton’s calculation and concludes that Little River is entitled to recover $18.9 million under the

TPPL. The parties are requested to submit their calculations of pre- and post-judgment interest

on prompt-payment penalties together with their attorneys’ fees and costs submissions pursuant

to Section IV, supra.

                                      C. Consequential Damages

       143.    Little River contends BCBSTX’s arbitrary and inconsistent adjudication of Little

River’s claims in 2016 and 2017 caused a severe liquidity crisis from which it ultimately could

not recover and forced it into bankruptcy, for which it seeks to recover in excess of $371.3

million in lost enterprise value.

       144.    Consequential damages may only be recovered if they are proved to be “the

natural, probable, and foreseeable consequence" of the defendant's breach.” Mead v. Johnson

Group Inc., 615 S.W.2d 685, 687 (Tex. 1981).         To be recoverable, the parties must have

contemplated when they entered into the contract that such damages would be a probable result




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of the breach, and the damages must be “directly traceable to the wrongful act and result from

it.” Basic Capital Mgmt., Inc. v. Dynex Commercial, Inc., 348 S.W.3d 894, 901 (Tex. 2011).

       145.    The Tribunal has given significant thought to Little River’s claims for

consequential damages alleged to have been caused by BCBSTX’s breach of contract, and to the

reports and testimony of the respective experts on the issue. The evidence clearly showed that

BCBSTX was aware of Little River’s cash-flow problems and that it was at risk of filing for

bankruptcy. See Trial Exs. 1105, 1099, 1213-002. However, that Little River’s cash-flow

position was dire is in itself insufficient to show that BCBSTX was the proximate cause of Little

River’s liquidity crisis or that, at the time the New Contracts were negotiated, BCBSTX could

reasonably have anticipated that if it improperly adjudicated Little River’s laboratory claims the

destruction of Little River’s entire enterprise would be the probable result. There are many

factors that can influence the viability of a healthcare company like Little River. See BCBSTX

Post-Hearing Brief at 37.

       146.    Little River’s causation expert, Mr. Herbers, opined that BCBSTX’s inconsistent

and arbitrary adjudication of Little River’s claims, its delay in payments, and its recoupment of

payments previously made “resulted in a severe liquidity issue from which [Little River] could

not recover.” Trial Ex. 37 at 0014 (Herbers Expert Report). He further opined that BCBSTX’s

“termination of initial Contracts and negotiation of the New Contracts further exacerbated [Little

River’s] financial condition forcing [Little River] to file for bankruptcy.”      Id. at 37-0015.

However, Mr. Herbers admitted that he considered no potential causes of Little River’s

bankruptcy other than its dispute with BCBSTX. Trial Tr. (Day 4) at 305:18-23 (Herbers)

(stating “I did not evaluate other possibilities.”). Though Little River counters that BCBSTX

failed to prove there was any other cause, it was Little River’s burden to rule out other potential




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contributors or causes, which would have required some type of “forensic accounting review or

financial review to determine the complete range of causes for [Little River’s] liquidity issues.”

Trial Tr. (Day 8) at 20:2-10; 49:11-20; 72:2-7; 83:13-85:13 (Benton).

       147.    There are many myriad factors that can affect a company’s viability, such as

management capability, market conditions, legislative or regulatory uncertainty, and any number

of internal and external influences. Mr. Herbers did not account for the expenses that Little

River had, the investments that it was attempting to make, the costs involved in its aggressive

expansion plans, including the Crockett Hospital and Georgetown surgery center, its access to

capital, its credit arrangements and various other factors that could have contributed to or been

the tipping point into Little River’s bankruptcy filing. Moreover, BCBSTX was within its rights

to terminate the initial Contracts, and the Tribunal has concluded that BCBSTX did not act

fraudulently in renegotiating the New Contracts. Accordingly, any extent to which these actions

may have “further exacerbated” Little River’s liquidity problems cannot be considered causative.

       148.    The Tribunal does not consider the evidence sufficient to show that BCBSTX

would have reasonably anticipated when the New Contracts were entered that future coverage

disputes could rise to the magnitude of forcing Little River out of business or that the bankruptcy

filing was “directly traceable to the wrongful act and result[ed] from it.” Basic Capital, 348

S.W.3d at 901. Accordingly, Little River’s request for consequential damages is denied.

               IV. Interest, Prompt Pay Penalties, Attorneys’ Fees and Costs

                                   A. Prejudgment Interest

       149.    Asserting equitable and statutory bases, Little River seeks to recover two types of

prejudgment interest—interest as interest, and interest as damages—with adjustments that it

suggests are appropriate to avoid a double recovery. As a preliminary matter, BCBSTX contests




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any award of prejudgment interest to Little River in light of the prompt-payment penalties that

are awarded.      Because this presents a threshold issue on Little River’s entitlement to

prejudgment interest, the Tribunal will address it first.

                  1. The prompt-payment penalties assessed do not preclude
                             an award of prejudgment interest.

       150.    According to BCBSTX, the decision to award prejudgment interest is a matter of

discretion, and here the equities do not support any amount in light of the prompt-payment

penalties and interest that are awarded. If prejudgment interest is awarded Little River will

receive a double recovery, BCBSTX contends, citing AMX Enterprises, LLP v. Master Realty

Corp., 283 S.W.3d 506 (Tex. App.—Fort Worth 2009, no pet.) in support. Little River responds

that the purposes for awarding penalties versus prejudgment interest differ and will be thwarted

if BCBSTX’s argument prevails, and distinguishes AMX Enterprises on a number of grounds.

       151.    The Tribunal agrees with Little River. The purpose of an award of prejudgment

interest is to make a plaintiff whole for the lost use of money, not to punish the defendant. On

the other hand, the Legislature intended prompt-payment penalties to be punitive in nature.

Precluding or lessening a compensatory remedy because statutory penalties attach would

undermine the Legislature’s purpose. The statute before the court of appeals under which

interest was awarded in AMX Enterprises was entitled “Interest on Overdue Payment,” and

provided that unpaid amounts would bear “interest” until paid or “the date a judgment is

entered.” Id. at 513. As such, the court concluded, the statute at issue concerned, “literally,

prejudgment interest” to compensate “for the loss of use of the unpaid money” pending judgment

and was thus intended to preclude an additional prejudgment interest award under the common

law. Id. In contrast, the assessments mandated under the TPPL are described as a “penalty” and

do not purport to provide interest on the damages awarded for BCBSTX’s contractual breach.



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Accordingly, the Tribunal rejects BCBSTX’s request to deny Little River any award of

prejudgment interest on the ground that mandatory prompt-payment penalties apply.

                     2. Little River may not recover interest as damages.

       152.    Little River contends it is entitled to an award of interest as damages to

compensate it for lost use of the money Little River was due between the accrual of its claims

and the date of the judgment. As a result of BCBSTX’s wrongful default on its payment

obligations, Little River contends, it was forced to fund operations through loans and BCBSTX

is liable for the interest Little River had to pay on that money. According to Little River, it

essentially provided a $65 million loan to BCBSTX since 2016, for which BCBSTX should be

required to pay interest at Little River’s 11.3% cost-of-capital rate until the date of its

bankruptcy, and thereafter at the higher 15% default rate that applies to its secured debt. That the

Tribunal did not award Little River lost-enterprise value as an element of damages for

BCBSTX’s breach says nothing, Little River argues, of its right to compensation for lost use of

the $65 million that required it to borrow money for operating capital. Once adjusted to ensure

no double recovery, Little River seeks interest as damages as of June 10, 2020 in the amount of

$28,056,087. See Ex. 1 to Little River’s Post-Hearing Brief on Interest, Attorneys’ Fees and

Costs of Court (“Herbers Declaration”).

       153.    BCBSTX counters that Little River’s attempt to recover interest as damages is a

thinly veiled effort to recover consequential damages attributable to its alleged loss of enterprise

value resulting from the bankruptcy, which the Tribunal denied. Because Little River lost on its

claim for consequential damages, BCBTX argues, it cannot now seek to recapture consequential

damages under the guise of prejudgment interest.




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       154.     The interest Little River paid on indebtedness it was forced to incur as a result of

BCBSTX’s default would not constitute an excessive recovery or confer upon Little River an

improper windfall, and is recognized as recoverable under Texas law. See Investors, Inc. v.

Hadley, 738 S.W.2d 737, 741 (Tex. App.—Austin 1987, writ den’d). However, irrespective of

whether or not the adjudication of Little River’s claim to recover lost-enterprise value resolved

the extent to which prejudgment interest as damages may be awarded, the same factors that

precluded Little River’s recovery of such value similarly militate against an award of interest as

damages here.

       155.     The premise of Little River’s argument is that $65M of the $95M in debt it

incurred was attributable to cash-flow shortages caused by BCBSTX’s nonpayment. But it

points to no specific indebtedness that Little River was forced to incur to cover for BCBSTX’s

default. Just as “there are many factors that can influence the viability of a healthcare company

like Little River,” see ¶ 145, supra, there are many factors that can influence the extent to which

a company decides to take on debt and a lender’s decision to leverage it. And just as the

evidence is insufficient to demonstrate that BCBSTX was the cause of Little River’s liquidity

crisis, it is insufficient to show that BCBSTX was the cause of Little River’s acquisition of debt

or its high cost-of-capital rate. See ¶ 146, supra. No forensic analysis was presented that

“account[ed] for the expenses that Little River had, the investments that it was attempting to

make, the costs involved in its aggressive expansion plans, including the Crockett Hospital and

Georgetown surgery center, its access to capital, its credit arrangements and various other

factors” that could have contributed to the decisions it made over time to acquire debt and how

much, and to the factors its creditors considered in determining the interest rate to charge. Id.

Without such an analysis, the causative effect of BCBSTX’s nonpayment on Little River’s




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decisions to incur debt and the interest rate it was required to pay is too speculative to support

recovery. Accordingly, Little River’s request for an award of interest as damages is denied.

         3. Little River is entitled to an award of prejudgment interest as interest.

       156.      Little River seeks recovery of prejudgment interest as interest at a rate of 6%

pursuant to section 302.002 of the Texas Finance Code, which provides as follows:

                 ACCRUAL OF INTEREST WHEN NO RATE IS SPECIFIED. If a creditor has not
                 agreed with an obligor to charge the obligor any interest, the creditor may
                 charge and receive from the obligor legal interest at the rate of six percent
                 a year on the principal amount of the credit extended beginning on the 30 th
                 day after the date on which the amount is due. If an obligor has agreed to
                 pay to a creditor any compensation that constitutes interest, the obligor is
                 considered to have agreed on the rate produced by the amount of that
                 interest, regardless of whether that rate is stated in the agreement.

TEX. FIN. CODE § 302.002. Under this section, interest accrues on a claim-by-claim basis

beginning 30 days after the amount is due. Here, payment was due 30 days after Little River

filed each claim with BCBSTX, meaning interest would begin to accrue 30 days thereafter—or

60 days after each claim was submitted. Calculating interest in this manner yields a total amount

due as of the scheduled June 10, 2020 final award date of $14,708,521. See Exhibit 1 to Little

River’s Post-Hearing Brief on Interest, Attorneys’ Fees and Costs of Court (“Herbers

Declaration”).

       157.      BCBSTX contests the application of section 302.002 to determine an award of

prejudgment interest, contending that, to the extent interest is awarded, section 304.003 controls.

BCBSTX further contends interest under section 304.003 should be calculated on a claim-by-

claim basis and run from 180 days after the last of Little River’s claims was submitted. The

Tribunal agrees with BCBSTX on the former point, but not the latter.

       158.      Section 302.002 allows a “creditor” to charge an “obligor” “legal interest” when

no rate has been specified. TEX. FIN. CODE § 302.002. The definition of “legal interest”



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expressly excludes “judgment interest,” id. at § 302.002(a)(8), which in turn is defined as

“interest on a money judgment, whether the interest accrues before, on, or after the date the

judgment is rendered,” id. at § 302.002(a)(8). The term “creditor” is defined to exclude a

“judgment creditor,” id. at § 302.002(a)(3), and “obligor” to exclude a “judgment debtor,” id. at

§ 302.002(a)(13). “Judgment creditor” is defined to mean “a person to whom a money judgment

is payable,” id. at § 302.002(a)(5), and “judgment debtor” to mean “a person obligated to pay a

money judgment,” id. at § 302.002(a)(6). By its plain language, section 302.002 does not apply

to an award of prejudgment interest on the money judgment in Little River’s favor.              See

Cumberland Cas. & Sur. Co. v. Nkwazi, L.L.C., No. 03- 02-270, 2003 WL 21354608 (Tex.

App.—Austin 2003, no pet.); Walden v. Affiliated Computer Servs., Inc., 97 S.W.3d 303, 330

(Tex. App.—Houston [14th Dist.] 2003, pet. denied).

       159.    Chapter 304 of the Texas Finance Code governs “Judgment Interest,” and

provides that the prejudgment interest rate is equal to the postjudgment interest rate applicable at

the time of judgment. TEX. FIN. CODE § 304.103. The postjudgment interest rate is the prime

rate, with a floor of 5% and a ceiling of 15%, compounded annually. TEX. FIN. CODE § 304.003,

.006. Under the statute, prejudgment interest applies to “wrongful death, personal injury, and

property damage cases.” Id. at § 304.102. However, the statutory formulation has been held to

apply under the common law and in calculating equitable prejudgment interest. See Johnson &

Higgins of Texas, Inc. v. Kenneco Energy, Inc., 962 S.W.2d 507 (Tex. 1998). Accordingly,

Little River is entitled to prejudgment interest at the current judgment interest rate of 5%. See

https://occc.texas.gov/publications/interest-rates.

       160.    The starting date for prejudgment interest to accrue is the earlier of (a) 180 days

after the date written notice is received, or (b) the date suit is filed. Id. at 531. Unlike section




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302.002, which accrues interest on a claim-by-claim basis, section 304.104 provides that interest

accrues “on the amount of a judgment.” TEX. FIN. CODE § 304.104. The Legislature’s use of the

word “judgment” rather than “claim” or “damages,” and adoption of the 180-day provision,

comports with the compromise the Court struck in Cavnar, and cannot be ignored. See Cavnar

v. Quality Control Parking, Inc., 696 S.W.2d 549, 554-55 (Tex. 1985)(recognizing that

“damages are typically incurred intermittently throughout the prejudgment period” and

“adopt[ing] a method of calculation that fairly compensates the plaintiff and avoids the difficulty

of accruing prejudgment interest.”). Although the Legislature has since amended the statute to

preclude an award of prejudgment interest on future damages, it has not amended this provision.

Accordingly, Little River is entitled to recover prejudgment interest “on the amount of the

judgment” beginning 180 days after BCBSTX received “written notice of a claim.” Id.

       161.    Little River argues that the first claim for advanced lipid testing that BCBSTX

denied occurred no later than May 20, 2015. Trial Ex. 3004. BCBSTX does not dispute Little

River’s first-claim-denied date, countering only that accrual should begin 180 days after the last

of the dates that the claims at issue were submitted. Finding no support for BCBSTX’s last-

claim-submitted position, the Tribunal concludes that BCBSTX received written notice that

Little River was claiming a right to compensation no later than May 20, 2015. See Johnson &

Higgins, 962 S.W.2d at 531 (citing Robinson v. Brice, 894 S.W.2d 525, 528 (Tex.App.—Austin

1995, writ denied) (stating claimant is not required to demand exact amount or list every element

of damages). Accordingly, interest on the amount of the judgment began to accrue 180 days

thereafter on November 16, 2015, for a total amount of $14,866,685.00 as of June 10, 2020.

                      B. Prompt Payment Penalties, Interest and Payee.




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       162.   The parties are in agreement as to the accruing amount of interest on prompt-

payment penalties. The Tribunal awarded penalties and interest up to the date of commencement

of the hearing on August 5, 2019 in the principal amount of $18.9 million. Statutory interest

thereafter accrues at $9,320.55 per day through the scheduled June 10, 2020 final award date in

the amount of $2,889,370.00, for a total of $21,789,370. Thereafter, interest will continue to

accrue at the rate of $9,320.55 per day until paid. The parties disagree, however, as to whom

such amounts must be paid. BCBSTX contends 50% of the penalties and interest awarded must

be paid to the Texas Department of Insurance, while Little River asserts that the Tribunal has

discretion to award 100% to Little River. The Tribunal agrees with BCBSTX.

       163.   The Texas Insurance Code provides that an insurer “shall pay 50 percent of the

penalty amount computed under this section, including interest, to the institutional provider and

the remaining 50 percent of that amount to the Texas Health Insurance Risk Pool.” TEX. INS.

CODE §§ 1301.137(1)(PPO); 843.342(m)(HMO). Texas closed the Risk Pool in 2014, but the

Legislature has not amended the Insurance Code to delete reference to the program. From this,

and the obsolete rationale behind the risk pool’s existence resulting from the Affordable Care

Act in 2010, Little River urges the Tribunal to exercise its “equitable authority and broad

discretion” to make Little River the sole payee on prompt-payment penalties. However, the

Texas Department of Insurance has made clear that after dissolution of the risk pool, 50 percent

of the penalties must be paid to the department and that obligation may not be waived. See TEX.

ADMIN.    CODE    §   21.2815(5);    August    31,   2018    TDI    Notification,   available   at

https://www.tdi.texas.gov/hmo/mcqa/promptpay.html; Commissioner’s Bulletin # B-0005-19

(July 17, 2019) available at https://www/tdi/texas.gov/bulletins/2019/B-000519.html. Pursuant

to the clear terms of the statute and the Commissioner’s authority, the Tribunal awards 50




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percent of the penalties and interest to the department. Accordingly, Little River shall have and

recover from BCBSTX the principal amount of $9,450,000.00 in penalties, together with

$1,444,685.00 in interest through the scheduled June 10, 2020 final-award date, for a total award

of $10,894,685.00, with interest to accrue thereafter in the amount of $4,660.27 per day until

paid. BCBSTX shall pay a like amount to the Texas Department of Insurance.

                                       C. Attorneys’ Fees

       164.    The resolution of Little River’s breach of contract claim is governed by the

substantive law of Texas, which allows a prevailing party to recover reasonable and necessary

attorneys’ fees incurred in presenting it.     See TEX. CIV. PRAC. & REM. CODE § 38.001;

Intercontinental Grp. P’ship v. KB Home Lone Star LP, 295 S.W.3d 650, 653 (Tex. 2009).

Attorneys’ fees are also recoverable for prevailing parties under the Texas Prompt Pay laws.

TEX. INS. CODE § 1301.108. BCBSTX does not contest Little River’s right to recover attorneys’

fees, at least to the extent on which it prevailed, but contends that aspects of Little River’s

calculations are excessive or unsupported, and that Little River’s segregation of fees and lodestar

calculations are improper.

       165.    As a preliminary matter, Little River claims that BCBSTX is estopped from

challenging the reasonableness of Little River’s attorneys’ fees because the Bankruptcy Court

has approved all fees incurred through the end of post-hearing briefing in September 2019, and

BCBSTX has not objected to Little River’s hourly attorneys’ fees. And because the Bankruptcy

Court has approved the reasonableness of the Trustee’s contingency-fee arrangements, Little

River contends, the Tribunal should not revisit those issues here.

       166.    The Tribunal will not second-guess the Bankruptcy Court’s assessment of

attorneys’ fees either as to reasonableness or necessity, or as to the contingencies the Court




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approved. But the manner in which the Bankruptcy Court determines attorneys’ reasonable and

necessary compensation for representation of the estate, and the amounts it determines Little

River is entitled to recover out of the estate’s assets, have no bearing on what fees may be shifted

to BCBSTX as a result of the award in this case. In making that determination, the Tribunal will

apply the fee-shifting rules applicable under Texas law.

                                          1. Hourly Fee Award

        167.     Hourly Rates. BCBSTX does not contest the hourly rates charged by Duane

Morris attorneys, but contends Mr. Downton’s $770 per hour undiscounted billing rate is

excessive. BCBSTX argues that a 20% discount should apply to align Mr. Downton’s rate more

closely with the $625-$650 per hour18 charged by Little River’s lead trial counsel, Mr.

Thompson. According to BCBSTX, the hourly percentage reductions that the bankruptcy court

approved for Mr. Downton should apply to this discounted rate. The Tribunal rejects BCBSTX’s

challenge to Mr. Downton’s hourly rate. The Bankruptcy Court has determined that Mr.

Downton’s standard hourly rate of $770 is reasonable, and based on the record presented in this

arbitration the Tribunal has no reason to question, and accepts, that determination.

        168.     Segregation. Little River seeks to recover hourly attorneys’ fees through April 6,

2020, in the total amount of $4,022,581, with $3,455,803 of this amount attributable to Duane

Morris’s hourly fees and $566,778 attributable to Mr. Downton’s reduced hourly fees. As the

party seeking recovery, it is Little River’s burden to segregate its attorneys’ fees between claims

for which such fees are recoverable and those for which they are not. See Tony Gullo Motors I,

LP v. Chapa, 212 S.W.3d 299 (Tex. 2006). Little River has identified those portions of its fee

request that it argues relate solely to a claim for which such fees are not recoverable or do not

18The rate Mr. Thompson charged Little River was discounted from his standard hourly rate of $650, $690 and $715
for 2017,-18, 2019 and 2020, respectively, and his hourly rate now stands at $735, which more closely comports
with Mr. Downton’s standard hourly rate. See Declaration of Brad Thompson, ¶ 10; Supplemental Declaration, ¶ 3.



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relate to the arbitration. Specifically, Little River deducted time spent responding to BCBSTX’s

dispositive motion on claims for which Little River was ultimately unsuccessful, and for

bankruptcy-related tasks not directly supporting the arbitration. Little River also applied a 20%

discount to its post-hearing briefing as attributable to unrecoverable claims. Otherwise, Little

River claims the hourly work performed by both Duane Morris and Ryan Downton was

inextricably linked to the prosecution of its successful breach-of-contract and prompt-pay claims,

and to the necessary corollary of defeating BCBSTX’s affirmative defenses and counterclaims.

       169.    BCBSTX contests Little River’s segregation of fees. Specifically, BCBSTX

contends Little River insufficiently accounted for (a) Mr. Downton’s vague and/or

unsubstantiated time entries, (b) time spent on the DTPA claim before it was withdrawn, and (c)

time spent on failed claims (breach of the covenant of good faith and fair dealing, unfair

settlement practices, deceptive insurance practices, violation of the Texas Free Enterprise and

Antitrust Act, fraudulent inducement, exemplary damages, money had and received, declaratory

judgment, and that BCBSTX was the cause of Little River’s bankruptcy), both at the arbitration

hearing and in discovery and trial preparation. BCBSTX also challenges recovery of fees and

costs related to Little River’s valuation expert, Mr. Hill, which it claims related solely to Little

River’s unsuccessful attempt to recover lost-enterprise value as a result of the bankruptcy. For

these reasons, BCBSTX contends Little River should have applied a discount of 20% to the

entire amount of its billing invoices.

       170.    The Tribunal agrees with BCBSTX that the reductions Little River applied do not

adequately reflect the amount of fees attributable to the non-recoverable claims. A significant

portion of the discovery, the briefing and the arbitration hearing was focused on proving

BCBSTX’s alleged purposeful misrepresentations, fraudulent and anticompetitive conduct, and




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causation and damages relating to Little River’s bankruptcy—claims on which Little River did

not prevail. Mr. Hill’s valuation expertise was similarly directed. Taking notice of the course of

the proceedings, and the discounts Little River has already factored, the Tribunal concludes that

an additional 15% across-the-board reduction more closely approximates the work attributable to

the non-recoverable claims, which includes attorney time spent working with Mr. Hill. Applying

this reduction results in a reasonable and necessary hourly fee award of $3,419,193.85, with

$2,937,432.55 of this amount attributable to Duane Morris and $481,761.30 attributable to Mr.

Downton. A $45,864.52 reduction in costs attributable to Mr. Hill is factored into the cost

award. See ¶ 186, infra.

                                          2. Contingency Fee Award

                                                a. Ryan Downton

        171.    The Bankruptcy Court approved the Trustee’s retention of Mr. Downton as an

attorney for the estate based on a hybrid fee arrangement that included a reduced hourly rate and

a 10 percent contingency fee on all damages “other than direct damages,” which are defined as

“money the Arbitrator finds BCBSTX should have paid Little River for healthcare services

provided to BCBSTX insureds.” In re Little River Healthcare Holdings, LLC, Case No. 18-

60526-rbk (W.D. Tex. Bankruptcy), Dkt. 887, Dkt. 1006. Presuming success on the arguments

presented in its Post-Hearing Brief on Interest, Attorneys’ Fees and Costs, Little River requests a

contingency fee award in the amount of $6,914,490.19 See Supplemental Downton Declaration

on Attorneys Fees, ¶ 12; Herbers Supplemental Declaration on Attorney Fees, ¶ 9. According to



19 Little River arrived at this number by adding economic damages of $65,103,000, prejudgment “interest as
damages” of $28,056,087, prejudgment “interest as interest” on the economic damages in excess of secured debt
between bankruptcy and judgment of $1,713,385, prejudgment “interest as interest” on paid attorneys’ fees of
$238,057, and prompt pay penalties as of June 10, 2020 of $21,789,370, less $47,755,000 in “direct damages,”
resulting in a “net proceeds” calculation of 69,144,899, times 10%. See Herbers Supplemental Declaration on
Attorneys Fee, ¶ 7.



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Little River, the reasonableness of the contingency should be measured against a lodestar of

$2,535,148, which it calculates by multiplying Mr. Downton’s current undiscounted hourly rate

of $770 times the 3,292.4 hours he has worked on the case, which includes 1,375 hours that he

worked while serving as Little River’s Chief Legal Officer.           See Downton Supplemental

Declaration, ¶ 10. That total through April 6, 2020 is $2,535,148. See Herbers Supplemental

Declaration, ¶ 9. Comparing this lodestar to the total $7,481,268 hourly and contingency fee

award Little River seeks yields a multiplier of 2.95, an amount Little River contends is well

within the range that Texas and other courts have approved as reasonable.

       172.    BCBSTX challenges Little River’s contingency calculation on a number of

grounds, contending Mr. Downton’s in-house work is insufficiently supported and the hours

billed and rates charged are excessive. Multiplying the 1,821.8 hours for which Mr. Downton has

provided billing records times his stated $770 hourly rate, and applying a 20% reduction,

BCBSTX contends an appropriate lodestar calculation is $1,122,229. According to BCBSTX,

this number is the total compensation due Mr. Downton through the combination of invoiced

billable time ($549,081) and contingent fee ($573,148).

       173.    The purpose behind fee shifting is to compensate the prevailing party for its

reasonable losses resulting from the litigation process, not to replicate an attorney’s fee

arrangement with the client. Thus, a client’s contractual agreement to pay a particular amount to

an attorney does not necessarily establish that fee as reasonable and necessary. See Rohrmoos

Venture, et al. v. UTSW DVA Healthcare, LLP, 578 S.W.3d 469, 487-88 (Tex. 2019). Though

an alternative fee arrangement may reflect a reasonable fee from the contracting parties’

standpoint, the question of attorneys’ fees must still be decided “specifically in light of the work

performed in the very case for which the fee is sought.” Id. at 498 (citing Arthur Andersen &




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Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818-19 (Tex. 1997)). Accordingly, the contingency

fee arrangement between the bankruptcy Trustee and Mr. Downton is not determinative of

reasonableness for purposes of shifting fees to BCBSTX under Texas law.

       174.    The Texas Supreme Court has set out a list of factors to consider in determining

how much of a fee may be shifted to a losing defendant. See id. In effect, the Court harmonized

what were known as the “lodestar” method and the “Arthur Andersen factors,” which the

jurisprudence had sometimes confused as distinct approaches.           The “lodestar” method for

calculating fees focuses on the reasonable amount of time expended by the attorneys multiplied

by a reasonable hourly rate, the product of which is the lodestar. See El Apple I, Ltd. v. Olivas,

370 S.W.3d 757, 760 (Tex. 2012). This approach requires “certain basic proof, including

itemizing specific tasks, the time required for those tasks, and the rate charged by the person

performing the work.” City of Laredo v. Montano, 414 S.W.3d 731, 736 (Tex. 2013)(per

curiam).   This type of calculation “provides an objective analytical framework that is

presumptively reasonable.” See Rohrmoos, id. at 38 (citing Montano, 414 S.W.3d at 736).

       175.    Courts have also looked to what are known as the “Arthur Andersen factors” in

analyzing the reasonableness of attorneys’ fees, which include the following non-exclusive

considerations:

       (1) the time and labor required, the novelty and difficulty of the questions
            involved, and the skill required to perform the legal service properly;

       (2) the likelihood that the acceptance of the particular employment will preclude
           other employment by the lawyer;

       (3) the fee customarily charged in the locality for similar legal services;

       (4) the amount involved and the results obtained;

       (5) the time limitations imposed by the client or by the circumstances;




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       (6) the nature and length of the professional relationship with the client;

       (7) the experience, reputation, and ability of the lawyer or lawyers performing the
           services; and

       (8) whether the fee is fixed or contingent on results obtained or uncertainty of
           collection before the legal services have been rendered.

See Arthur Andersen, 945 S.W.2d at 818; TEX. DISCIPLINARY R. PROF’L CONDUCT 1.04.

       176.    In Rohrmoos, the Court clarified that the lodestar method was not meant to be a

separate test but “a ‘short hand version’ of the Arthur Andersen factors.”             The lodestar

calculation “is a focused and objective analysis of whether the fees sought are reasonable and

necessary, yielding a base figure that reflects most Arthur Andersen factors and is thus

presumptively reasonable.” Rohrmoos, 578 S.W.3d at 496. That base figure is adjustable if

other factors not accounted for rebut the presumption. Id. After Rohrmoos, it is clear that the

starting point for calculating a fee award is determining the lodestar, that is, the reasonable hours

worked multiplied by a reasonable hourly rate.

       177.    Accordingly, the first step in analyzing the reasonableness of Mr. Downton’s fee

request is calculating the appropriate lodestar by which to measure it. A key point of dispute in

making that calculation concerns the estimated hours Mr. Downton spent working on the case in

house as Little River’s Chief Legal Officer. Though BCBSTX contends such time should not be

considered, under Texas law a corporate client can be awarded fees for representation by its in-

house counsel. Rohrmoos, 578 S.W.3d at 488 (citing Tesoro Petrol Corp. v. Coastal Ref. &

Mktg, Inc., 754 S.W.2d 764, 766-67 (Tex. App.—Houston [1st Dist.] 1988, writ denied). That

being the case, the Tribunal sees no reason why such time should not factor into the lodestar

calculation. However, the party seeking a fee award bears the burden of proof to support the

award, and in-house counsel is not exempt from the same evidentiary burden borne by outside




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counsel. See, e.g., Kinsel v. Lindsey, 526 S.W.3d 411, 427 (Tex. 2017). That burden requires a

description of specific tasks, the time required for those tasks, and the rate charged by the person

performing the work.

        178.     Mr. Downton did not keep time records as an in-house attorney. However,

contemporaneous billing records are not required to prove the reasonableness and necessity of a

fee request. See El Apple I, Ltd. v. Olivas, 370 S.W.3d 757, 763 (Tex. 2012). Based on a review

of his calendar and the tasks he worked on while in house, Mr. Downton provided a

particularized description of the work he performed and an estimate of the time he spent each

month on specific tasks totaling 1,375 hours. See Downton Supplemental Affidavit, ¶ 4-5. The

Tribunal considers Mr. Downton’s in-house estimate reasonable in light of the descriptions given

and the breakdown of the specific tasks performed, which comports with the work Mr. Downton

described in his testimony during the arbitration hearing. Accordingly, the appropriate number

of hours for purposes of calculating the lodestar is 3,292.40.20

        179.     The appropriate rate for in-house counsel should be calculated at the market rate

for outside counsel.       See AMX Enters. LL v. Master Realty Corp., 283 S.W.3d 506, 519

(Tex.App.—Fort Worth 2009, no pet.). The Tribunal has accepted that rate for Mr. Downton at

$770 per hour. See ¶ 167, supra. Multiplying the hours worked times the hourly rate yields a

total of $2,535,148. Attributing 15% of Mr. Downton’s time to work on nonrecoverable claims,

see ¶ 170, supra, yields a total of $2,154,875.80, which the Tribunal concludes is the appropriate

lodestar for evaluating Little River’s fee request.

        180.     The lodestar calculation “yield[s] a base figure that reflects most Arthur Andersen

factors and is thus presumptively reasonable.” Rohrmoos, 578 S.W.3d at 496. That base figure


20The evidence is insufficient to support adding hourly time for other legal staff that worked with him as Chief
Legal Officer, or for factoring such time into determining an appropriate multiplier.



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is adjustable if other factors not accounted for rebut the presumption. Id. However, “a[n]

enhancement or reduction of the base lodestar figure cannot be based on a consideration that is

subsumed in the first step of the lodestar method.” Id. at 500. The parties agree that the base

lodestar includes Arthur Andersen factors 1 (time and labor required, novelty and difficulty of

questions involved, skill required to perform the legal service properly) and 7 (experience,

reputation, and ability of the lawyer or lawyers performing the services).        BCBSTX also

contends factors 3 (fee customarily charged in locality for similar legal services), 4 (amount

involved and results obtained), and 6 (nature and length of professional relationship with client)

are similarly subsumed in the lodestar calculation. The Tribunal agrees that these elements are

reflected in the rates and hours used for the lodestar calculation and thus may not be considered

for purposes of enhancement. See, e.g., id. at 500 (stating the “results obtained” is generally

factored into the lodestar calculation and should ordinarily not form the basis for enhancement).

The same is true for factors 2 (likelihood lawyer’s acceptance of particular employment will

preclude other employment) and 5 (time limitations imposed by client or circumstances). Id.

       181.    Little River primarily relies on factor 8 for an upward adjustment to the lodestar

calculation, which considers “whether the fee is fixed or contingent on results obtained or

uncertainty of collection before the legal services have been rendered.” Arthur Andersen, 945

S.W.2d at 818. According to Little River, this is “by far, the most important factor in this case”

in supporting a lodestar enhancement.      Little River Post-Hearing Brief, p. 27-28. Though

BCBSTX questions the necessity for the contingency element of Mr. Downton’s compensation

agreement in the first place, the Tribunal will not second-guess the Bankruptcy Court’s approval

of this arrangement, which is expressly authorized under federal law and is not uncommon in the

bankruptcy context where, as here, estate assets are limited. See 11 U.S.C. § 328(a). However,




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the jurisprudence is clear that considerations of “whether the fee is fixed or contingent on results

obtained” and “the uncertainty of collection before the legal services have been rendered” are

subsumed in the lodestar calculation. Rohrmoos, 578 S.W.3d at 492, 500-02 (citing Arthur

Andersen, 945 S.W.2d at 818; Burlington v. Dague, 505 U.S. 557, 562-63 (1992) (disallowing

enhancement for contingency as duplicative of considerations subsumed in lodestar calculation,

as “[t]he risk of loss in a particular case (and, therefore, the attorney’s contingent risk) . . . is

ordinarily reflected in the lodestar—either in the higher number of hours expended to overcome

the difficulty, or in the higher hourly rate of the attorney skilled and experienced enough to do

so.”)). And “considerations already incorporated into the base calculation may not be applied to

rebut the presumption that the base calculation reflects reasonable and necessary attorney’s

fees.” Id. The “strong presumption” that the lodestar calculation is reasonable may only be

overcome in “rare circumstances” when considerations not already accounted for in the lodestar

“establish that the base lodestar figure represents an unreasonably low fee award, depriving fair

compensation to the prevailing party’s attorney.” Id. at 502 (citing Perdue v. Kenny A. ex rel.

Winn, 559 U.S. 542, 553-54 (2010)). Because the evidence presented here does not override that

strong presumption, the Tribunal denies Little River’s request for enhancement of the lodestar

calculation.

       182.    Again, that the contingency portion of Mr. Downton’s fee arrangement with the

Trustee may not be shifted to BCBSTX under Texas law does not mean that, from the

bankruptcy estate’s standpoint, it does not reflect a reasonable fee. Indeed, the Bankruptcy Court

has approved the contingency as reasonable and necessary, and will ultimately decide what

amounts Little River may be entitled to recover out of the estate’s assets. But under established

Texas law, that decision has no bearing on what amount BCBSTX should pay as a fee award,




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which must be decided “specifically in light of the work performed in the very case for which the

fee is sought.” Id. at 498 (citing Arthur Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d 812,

818-19 (Tex. 1997)). The Tribunal concludes that a reasonable and necessary fee attributable to

Mr. Downton is $2,154,875.80, which includes the reduced hourly ($481,761.30) and contingent

fee ($1,673,114.50) components.

                                           b. Mr. Studensky

       183.    Little River seeks a fee award for the Law Office of James Studensky in the

amount of $3,868,745 pursuant to a 3% contingency that it claims is authorized by federal statute

and supported by Texas law. See 11 U.S.C. §326(a); TEX. CIV. PRAC. & REM. CODE § 38.001;

TEX. INS. CODE § 1301.108. According to Little River, the maximum contingency allowed by

law is presumptively reasonable and cannot be reduced absent extraordinary circumstances.

BCBSTX challenges Little River’s fee request for Mr. Studensky on a number of grounds.

Pointing to the Tribunal’s conclusion that BCBSTX did not cause Little River’s bankruptcy, it

argues any fees associated with the bankruptcy must be borne by the estate.              BCBSTX

additionally claims that the statute on which Mr. Studensky relies sets a ceiling and does not

reflect the amount that he will actually be compensated.        Finally, BCBSTX contends Mr.

Studensky has not met the requirements for fee shifting under Texas law.

       184.    The Tribunal agrees with BCBSTX. The statute upon which Little River relies,

which is entitled “Limitation on compensation of trustee,” provides that in a case such as this the

court “may” allow reasonable compensation for the trustee’s services “not to exceed 3%” of the

described recoveries. 11 U.S.C. §326(a). Mr. Studensky’s fee has not been quantified under the

statute, and any shifting of a prospective fee would be pure guesswork. In any event, whatever

fee the Bankruptcy Court approves as reasonable and necessary for Mr. Studensky’s




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representation as Trustee for the estate is unrelated to the amount of his fee that may be shifted to

BCBSTX under Texas law. And determining that amount would be mere guesswork as well.

Mr. Studensky submitted neither time records nor anything more than a vague and global

description of the work that he performed. Absent sufficient proof of at least some of the Arthur

Andersen factors, the Tribunal “has no meaningful way to determine if the fees were in fact

reasonable and necessary.” Arthur Andersen, 945 S.W.2d at 818-19. The Tribunal concludes

that, under Texas law, the evidence is legally insufficient to support an attorney’s fee award for

Mr. Studenksky.

                            3. Prejudgment Interest on Paid Attorneys’ Fees.

        185.    Little River seeks an award of prejudgment interest, as interest, on paid attorneys’

fees. There is a split of authority on whether prejudgment interest is appropriate on attorneys’

fees paid prior to the entry of judgment, which the Texas Supreme Court has not resolved. At

this point, as BCBSTX acknowledges, the weight of authority favors Little River’s position. See

Little River Post-Hearing Brief, p. 11 n. 39; BCBSTX Post-Hearing Brief, pp.12-13. Little River

calculates 5% simple interest on its paid attorneys’ fees in the amount of $238,057.00, and the

Tribunal accepts that calculation for purposes of this award.           See Herbers Supplemental

Declaration, ¶ 6. Accordingly, Little River is entitled to recover $238,057.00 in prejudgment

interest on its paid attorneys’ fees.

                                                 D. Costs

        186.    Little River has presented evidence of its reasonable and necessary costs in the

amount of $1,151,790.        See Thompson Supplemental Declaration, ¶ 8.           BCBSTX’s only

objection to such costs concern those attributable to Mr. Hill, which the Tribunal has sustained.




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See ¶ 170, supra. Factoring in a $45,864.52 reduction in costs attributable to Mr. Hill yields a

total cost award of $1,105,925.00.

           E.      Postjudgment Interest on Damages Other Than Prompt Pay Penalties

       187.     Texas Finance Code section 304.003 governs the rate for post-judgment interest,

which is currently 5% compound interest. See https://occc.texas.gov/publications/interest-rates.

Because Little River will continue to pay 15% interest on nearly $50 million in debt until the

judgment is paid, it seeks consequential damages in the form of a daily post-judgment interest

charge based on a 10% annual rate. For the reasons described above, see ¶ 155, supra, the

Tribunal denies an award of post-judgment interest in excess of the statutory rate.

                                           V. Confidentiality

       188.     BCBSTX requests that the Tribunal designate the Interim Award, Final Award,

and the entire record of the arbitral proceeding as confidential, contending that such materials are

protected from disclosure by (1) Little River’s designation of its arbitration demand as

“Confidential” (2) the agreed Protective Order (Arbitrator Order No. 2), and (3) Texas law

governing alternative dispute resolution procedure. Little River counters that (1) the contracts

attached to its demand required that payment rates be kept confidential, hence the “Confidential”

designation which did not sweep everything surrounding the arbitration into its purview, (2) the

Protective Order was limited to preserving the parties’ confidential information produced in

discovery, not the results of the arbitration, and (3) Texas law does not protect arbitration awards

from public disclosure.

       189.     The AAA Statement of Ethical Principles provides as follows:

              An arbitration proceeding is a private process. In addition, AAA staff and
              AAA neutrals have an ethical obligation to keep information confidential.
              However, AAA takes no position on whether parties should or should not
              agree to keep the proceeding and award confidential between themselves.



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              The parties always have a right to disclose details of the proceeding, unless
              they have a separate confidentiality agreement.

The AAA commercial arbitration rules also provide that the arbitrator “shall maintain the privacy

of the hearings unless the law provides to the contrary.” R-25 (emphasis added). Thus, there is

a distinction between the privacy of the process and the confidentiality of the proceedings and

award. While AAA staff and the Arbitrator are ethically bound to protect both, nothing in the

rules or ethical obligations requires the parties to keep the pleadings, evidence or outcome

confidential. On the contrary, the parties are free to disclose such information unless they have a

separate confidentiality agreement.

       190.    There is nothing in the arbitration provisions of the Contracts at issue that requires

the parties to keep the arbitral proceedings or outcome confidential. BCBSTX points to Little

River’s “Confidential” designation on its arbitration demand as evidence of such an agreement.

However, there is nothing to indicate that the designation was intended to extend beyond the

document on which it appears or constitute a “separate confidentiality agreement” in itself. If

that had been the case, there would have been no need for the parties to seek a protective order

from the Arbitrator. Little River’s designation on its demand is insufficient to impose a duty of

confidentiality on the entire proceeding or its result.

       191.    Neither does the agreed protective order impose such a duty. By its terms, the

protective order applies “for the sole purpose of facilitating discovery and disclosures in the

Proceeding.” Arbitrator Order No. 2, ¶ 1. The protections conferred by the protective order

extend to arbitral materials that either party designated as “Confidential” or “Confidential—

Attorney’s Eyes Only” pursuant to the order’s terms. The order provides a procedure for

challenging such designations, which neither side has invoked. Id. at ¶ 16. Accordingly, the

confidentiality protections that the protective order confers extends to documents and materials



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that are properly so marked, and no more. Importantly, the parties could have specifically agreed

to more extensive confidentiality protections, and the AAA provides a ClauseBuilder tool for

doing just that by opting to include the following language: “Except as may be required by law,

neither a party nor an arbitrator may disclose the existence, content, or results of any arbitration

hereunder     without     the    prior    written     consent    of     both    parties.”       See

https://www.clausebuilder.org/cb/faces/welcome. Absent some sort of agreement to this effect,

and beyond the protective order’s constrictions described above, there is nothing to preclude

Little River’s “right to disclose details of the proceeding,” including its outcome.

       192.    Finally, BCBSTX claims Texas law supports its position, citing Texas Civil

Practice and Remedies Code section 154.073(b).             That provision, however, protects as

confidential “any record made at an alternative dispute resolution procedure,” not the outcome of

that procedure.   Again, had the statute’s import been so sweeping, there would have been no

need for the parties to seek an agreed protective order. BCBSTX also urges that maintaining the

confidentiality of the Interim Award comports with the approach federal courts have taken with

arbitration awards that contain sensitive business information by granting leave to file such

documents under seal. Because the Interim Award contains commercially sensitive contract

terms, BCBSTX contends, it should be similarly protected from disclosure. BCBSTX’s request,

however, does not isolate which specific portions of the Interim Award it considers to reveal

sensitive or proprietary information, other than a global reference to contractual payment rates.

Absent such a specific request, the Tribunal declines to declare the award protected from

disclosure in toto. Nonetheless, Little River does not oppose BCBSTX’s desire to protect the

contractual payment rates contained in paragraphs 13, 14, 35, 101, 125 and 126 of the Interim,

and now this Final, Award from disclosure. Accordingly, the Tribunal directs that any disclosure




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of the Interim and Final Awards shall be in a form that protects the contractual payment rates

contained in the above-enumerated provisions from disclosure. Beyond this, and the properly

designated materials under the protective order, BCBSTX’s request that the awards and all other

arbitration material be protected as confidential is denied. Of course, there is nothing to prevent

BCBSTX from petitioning the Bankruptcy Court for a sealing order or for any other or further

protections that the Bankruptcy Court may deem appropriate.



       This Final Award, which incorporates the Interim Award, is in full settlement of all

claims submitted in this arbitration. All claims not expressly granted are hereby denied.




_____________________________________                               Date: May 6, 2020
Hon. Harriet O’Neill, Arbitrator




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